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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247



Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97.7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
Calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98 .6, Oxygen Delivery Device
Aerrn, Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
(OLUBIYl,OLUTAYO I MD)
blood ex ngtd 10/14
Diagnostics Reviewed: Yes
(LOZADA,JAMES A MD)

Quality
Lines Tubes and Catheter: Urinary Catheter (Texas catheter (10/16/2016))
 (OLUBIYl,OLUTAYO I MD)
Lines Tubes and Catheter: Urinary Catheter (Texas catheter (10/16/2016))
 (LOZADA,JAMES A MD)
VTE Prophylaxis Ordered: Yes
 (OLUBIYl,OLUTAYO I MD)
Indwelling Foley Catheter: No
Indication for Indwelling Cath: Acute Urinary Retention
 (OLUBIYl,OLUT AYO I MD)
Central Venous Catheter: No
 (OLUBIYl,OLUTAYO I MD)
1:1 Sitter: Continued (Reminder: Enter Orders in POM)
Violent Restraints: Continued (Reminder: Enter Orders in POM)
 (OLUBIYl,OLUTAYO I MD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Toxic encephalopathy
(3) Lactic acidosis
(4) Rhabdomyolysis
(5) Alcohol withdrawal delirium
(6) Urinary retention
(7) Suicidal overdose
(8) Drug overdose
Chronic Problems:
(1) HIV (human immunodeficiency virus infection)
(2) Drug abuse (OLUBIYl,OLUTAYO I MD)
Problem List:
(1) Alcohol withdrawal delirium
(2) Acute respiratory failure with hypoxia and hypercapnia
(3) Drug overdose
(4) Toxic encephalopathy


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1017-0069
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



(5) Lactic acidosis
(6) Rhabdomyolysis
(7) Urinary retention
(8) Suicidal overdose
Chronic Problems: (LOZADA.JAMES A MD)
Management Plan
Plan
NEU :
-Will continue CIWA protocol for acute alcohol withdrawal. score was around 20 overnight.
-will continue Haldol as scheduled.
-f/u Psych evaluation.
-will complete 302 documentation.
-Titrating down Precedex drip. currently at 1.2mcg/kg/hr

Cl/:
-Patient appears hemodynam ically stable overnight.
-No major issues noted overnight.

PULM :
-Patient is sating well on 4L 02 by nasal cannular.
-Right lung pneumonia on CXR largely unchanged from yesterday.

GI :
-No acute issues.
-Famotidine was DC'd
-will continue colace for constipation.

GU :
-Serum Cr at 1.5 this AM .
-Will continue to trend CPK levels until normalize
-Foley was DCd yesterday and patient is currently on Texas catheter due to restraints.
ID:
-Known HIV infection. Never on any HAART. Low CD4 count.
-WBC continues to trend up, 18000's this AM .
-will f/u Sputum cultures for Pneumocystis, urine & blood cultures.
-will complete ceftriaxone & gentamicin.

HEME/ONG:
-No acute issues.
-will continue DVT prophylaxis with Enoxaparin.

ENDO:
-No active issues.
-Continue accuchecks and Regular insulin SS
-Keep sugars <180 and >60




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1017-0069
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



F/E/N :
-For speech and swallow eval. and possible diet feed today.
-Will continue to monitor and replete electrolytes as needed. Electrolytes currently stable.

SOCIAL:
      o Full code.
      o NOK:    Sheree Bradham (484) 420-5809 Mother
                Ellis Bradham (610) 348-4661 Father
 (OLUBIYl,OLUTAYO I MD)
Plan
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Delirium persists with intermittent agitation despite precedex, CIWA/ativan, and intermittent haldol.
Likely alcohol withdrawal.
Breathing is acceptable sip extubation yesterday.
302 completed this morning. Maintain 1:1 obs for suicidality. awaiting psychiatry
SLP to evaluate. If MS precludes oral intake will need DHT and tube feeds in next 24-48h
Await gentamicin trough level. Cont abx as per ID
ICU for now
Discussed with sister at bedside. All questions answered.
 (LOZADA,JAMES A MD)

Additional lnfonnation
Crltlcal Care Time (mlns): 38
Additional Comments
excludes procedures and teaching
(LOZADA,JAMES A MD)


OLUBIYl,OLUTAYO I MD                                                            Oct 17, 2016 07 :42
LOZADA,JAMES A MD                                                               Oct 17, 2016 11 :06

        <Electronically signed by OLUTAYO I OLUBIYI, MD> 10/17/16 2004
        <Electronically signed by JAM ES A LOZADA, MD> 10/17/16 2008




OLUBOL/ 00 I DD 10/17/16 0742/ OT 10/17/16 0742




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1017-0069
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                      Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1017-0122                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN , MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/17/16 08:34
Subjective
Patient seen, resting in bed, in 4 point restraints, nursing at bedside, patient extubated Saturday and has been having
hallucinations and aggressive behavior, full chart reviewed at length, patient attempts to verbalize with me but it's
nonsensical

Objective
Patient Data
                                           Vital Signs, Last Documented
        Date Time        Temo    Pulse    Re so B/P        Pulse Ox 02 Deliverv           02 Flow Rate     Fi02
       10/17/16 08:00     37.5    101        40 142/73          100 Nasal Cannula                 2.00
       10/15/16 19:00                                                                                        40

Weight in Kg
93.00
                                                           Bedside Blood Glucose
10/17/16 04:42: POC Glucose 90
Appearance: : No Acute Distress
Thorax: : CTA Bilateral
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bovvel Sounds Noted
Neurologic: : Other (unable to assess)

Results
                                                           Lab Results, CBC Diagram
10/17/16 05:50




                                                           Lab Results, BMP Diagram
10/17/16 05:50




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1017-0122
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                                  MR#: F001250247



                                                    __1_4_0__+-_10_2__.....,_1_6__~~8
                                                      4.5       28           1.1 ~


Impression and Plan
Problem List:
(1) Toxic encephalopathy
Impression and Plan: Plan to continue with close clinical monitoring and sedatives, continue restraints as needed
await psychiatry input
(2) Aspiration pneumonia
Impression and Plan: Appreciate ID input, continue gentamicin and Rocephin
(3) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Currently stable status post extubation, continue to monitor respiratory status
(4) AKI (acute kidney injury)
Impression and Plan: Resolved
Chronic Problems:


HAMID.SAMMY, MD                                                                         Oct 17, 2016 08:40

         <Electronically signed by SAMMY HAMID, MD> 10/18/16 0724




HAM ISA I SH I DD 10/17/16 0840 IDT 10/17/16 0840




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1017-0122
REPORT STATUS: Signed
               Case 2:18-cv-00924-PD            Document 15-9          Filed 05/03/18       Page 6 of 89



                                                 Mercy Fitzgerald Hospital
                                                      Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1017 -0359                            OOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/17/16 15:01
Service: Infectious Disease
Subjective
Pt alert, disoriented to time and place, Tm 98.8, no emesis, increased stool formation

Objective
Patient Data
                                           Vital Signs, Last Documented
        Date Time        Temo    Pulse    Reso B/P         Pulse Ox 02 Delivery          0 2 Flow Rate   Fi02
       10/17/1614:00              123       34 119/65            99 Nasal Cannula                 2.00
       10/17/1612 :03     37.5
       10/15/1619:00                                                                                       40

Weight in Kg
93.00
                                                           Bedside Blood Glucose
10/17/16 04:42: POC Glucose 90

Physical Exam
Tm 98.8

no strider or meningismus,no abdominal dissension iv access intact Neuro no tremor appreciated en pupils reactive
no facial asymmetry moves all ext. plantars down

Results
                                                           Lab Results , CBC Diagram
10/17/16 05:50




                                                           Lab Results, BMP Diagram
10/17/16 05:50



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1017-0359
REPORT STATUS: Signed
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                           Mercy Fitzgerald Hospital
                                 Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



                                                 140       102
                                               --4-_5__....,__
                                                                    16     /a
                                                             2_8__..._l___l--c~B


repeat blood els sterile

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood cl sterile, echocardiogram= no vegetations or valvular abnormality,
recommend TEE when logistically feasible
pneumonia: aspiration,
HIVD: moderately advanced, CD4 240-300
elevated temperature : resolved, ordered sputum for cytology
confusion: analysis active,
abx mgmt:adjusted to combination parental ceftriaxone and gentamicin Gentamicin serum trough level pending
discussed clinical presentation with pts family

recommend TEE when logistically feasible


GILBERT.MARK, MD                                                                   Oct 17, 2016 15:04

        <Electronically signed by MARK GILBERT, MD> 10/17/16 1504




GILBMA /MG I DD 10/17/161504/DT10/17/16 1504




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1017-0359
REPORT STATUS: Signed
              Case 2:18-cv-00924-PD           Document 15-9         Filed 05/03/18       Page 8 of 89



                                               Mercy Fitzgerald Hospital
                                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                               MR#: F001250247
ACCT: FA1307223089                            ADMIT DATE: 10/07/16
REPORT#: 1018-0120                            DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP: DOCTOR,NONE (FAMILY)

                                               ***Signed Status***


Subjective
Encounter Date & Time
10/18/16 08:21
(OLUBIYl,OLUTAYO I MD)

Subjective
Hospital LOS days: 12
ICU LOS: 12
Subjective
Patient was seen and evaluated by the bedside. Patient had a spike of fever 38.4 last evening.He also had an
episode of Haldol for delirium overnight. Was maintained on CIWA and 1: 1 obseNation protocols throughout the
night.
 (OLUBIYl,OLUT AYO I MD)

Review of Systems
Unable to Obtain: Altered Mental status (Sedated.)
(OLUBIYl,OLUTAYO I MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                         Medications Active List
      Medications            Dose                     Sig/Sch     start Time         Status   Last Admin
                             Ordered                              stooTime
      Folic Acid             1 mg                     DAILY       10/11/16 09:00              10/16/16 08 :39

      Thiamine HCI           100 mg                   DAILY        10/11/16 09:00             10/16/16 08:39

      Enoxaparin Sodium      40mg                     DAILY        10/11/1610:45              10/17/1609:11

      Insulin Human          SS LOW DOSE LOW          Q6           10/12/16 07 :45
      Regular                INTENSITY
                             SCALE: Bl. ..
      Dextrose               16 gm                    PRN PRN      10/12/16 11 :45            10/12/1612:41

      Dextrose/Water         12.5 gm                  PRN PRN      10/12/16 11 :45




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 101 B-0120
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



      Doxazosin Mesylate      1 mg                     DAILY         10/13/16 09:00           10/16/16 08:40

      Acetaminophen           500 mg                   Q6H PRN       10/12/16 20:15           10/17/16 15:36

      Docusate Sodium         100 mg                   BID           10/14/16 11 :30          10/16/1619:53
      100 ma
      Gentamicin              52.75 ml@                QB            10/14/1621:00            10/18/16 05:26
      Sulfate/Sodium          100 mis/hr
      Chloride
      Risperidone 2 mg        2 mg                     BID           10/15/16 12:15           10/16/16 19:53

      Ceftriaxone Sodium      100 ml@                  DAILY         10/17/16 09:00           10/17/16 09:11
                              100 mis/hr
      Lorazepam               1 mg                     Q1H PRN       10/16/1611:00            10/18/16 03:16

      Lorazepam               2 mg                     Q1H PRN       10/16/16 11 :OD          10/18/1605:12

      Albuterol/              3ml                      Q4H PRN       10/16/1615:30
      loratrooium
      Haloperidol             5mg                      Q6 PRN        10/17/16 11 :15         10/18/16 00:06
      Lactate 5 ma
      Sodium Chloride         1,000 ml@                Q10H          10/17/16 11 :15         10/18/16 06:55
                              100 mis/hr
      Guaifenesin             200 mg                   Q4H PRN       10/17/1611 :30


(OLUBIYl,OLUTAYO I MD)
Active Meds Reviewed: Yes
(LOZADA,JAMES A MD)
Patient Data
                                            Vital Signs, Last Documented
        Date Time         Temo     Pulse   Reso B/P         Pulse Ox 02 Delivery       02 Flow Rate   Fi02
       10/18/16 07 :00              103      41 150/70            98 Nasal Cannula             4.00
       10/18/16 04:00      37.9
       10/15/16 19:00                                                                                   40

Weight in Kg
93.00
                                                            Bedside Blood Glucose Last 24h
10/17/1611:39: POC Glucose 84
10/17/16 16:44: POC Glucose 91
10/17/16 22:37: POC Glucose 89



                                   ~                                       07 :00

PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                               MR#: F001250247



                                   Intake Total                             2454.50 m l
                                   Output Total                                4525 m l
                                   Balance                                 -2070.50 m l

                                   Intake Oral                                   Om l
                                   IV Total                                2454.50 m l
                                   Output Urine Total                         4525 m l
                                   #Voids                                           1

Sedation Score Actual
-2

(OLUBIYl,OLUTAYO I MD)

                                                Vital Signs 24 Hours
       Date Time        Temp     Pulse   Reso    B/P        Pulse Ox         02 Deliverv      02 Flow Rate   Fi02
      10/18/16 09:00                96     29      126/65        100         Nasal Cannula            4.00
      10/18/16 08:00     37.4       93     38      140/66        100         Nasal Cannula            4.00
      10/18/16 07 :00             103      41      150170         98         Nasal Cannula            4.00
      10/18/16 06:00                92     29      140/61        100         Nasal Cannula            4.00
      10/18/16 05:00                91     44      131/60         99         Nasal Cannula            4.00
      10/18/16 04:00     37 .9      90     41      124/64         98         Nasal Cannula            4.00
      10/18/16 04:00                                                         Nasal Cannula            4.00
      10/18/16 03:00                86     29      119/49             98     Nasal Cannula            4.00
      10/18/16 02 :00               86     37      126/59             99     Nasal Cannula            4.00
      10/18/16 01 :00               94     43      128/64             98     Nasal Cannula            4.00
      10/18/16 00:03               102     37      154/83             96     Nasal Cannula            4.00
      10/18/16 00:00     37.8       89     41      138/67             98     Nasal Cannula            4.00
      10/18/16 00:00                                                         Nasal Cannula            4.00
      10/17/16 23:00                91     37      123/59             99     Nasal Cannula            4.00
      10/17/16 22 :00               97     40      135/62             98     Nasal Cannula            4.00
      10/17/16 21 :00               90     40      141170             99     Nasal Cannula            4.00
      10/17/16 20:00                                                         Nasal Cannula            4.00
      10/17/16 20:00     38.4       98     22      148/64         100        Nasal Cannula            4.00
      10/17/16 19:00                93     46      137/66          99        Nasal Cannula            4.00
      10/17/16 18:00     38.3      110     21      134171         100        Nasal Cannula            2.00
      10/17/16 17:00               105     36      150/61          99        Nasal Cannula            2.00
      10/17/16 16:00                                                         Nasal Cannula            2.00
      10/17/16 16:00     39.3      111     43      139170         100        Nasal Cannula            2.00
      10/17/16 15:00               124     36      153171         100        Nasal Cannula            2.00
      10/17/16 14:00               123     34      119/65          99        Nasal Cannula            2.00
      10/17/16 13:00               109     50     137/113          99        Nasal Cannula            2.00
      10/17/16 12:03     37.5      110     46      142/68          98        Nasal Cannula            2.00
      10/17/16 12:00                                                         Nasal Cannula            2.00
      10/17/16 11 :00              109     32      142/67             97     Nasal Cannula            2.00

(LOZADA,JAMES A MD)


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




Physical Exam
Appearance: : Appears stated Age: No Acute Distress: Other (in physical restrains)No : Agitated, Alert
Head Exam: : Atraumatic: Normocephalic
HEENT: : PERRL: Sciera Anicteric
Thorax: : Accessory Muscle Use: CTA Bilateral : Decreased Breath Sounds (over the right lung lower lobe) : other
(tachypneic 35-40 cpm) : Rhonchi (over the right lower lobe)
Cardiovascular: : No JVD: Regular Rate Rhythm No: Gallop, Murmur. Rub
Abdomen: : Non-tender: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal : Skin Temperature Normal: Skin Turgor Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal (OLUBIYl,OLUTAYO I MD)
HEENT: : PERRL
Thorax: : Decreased Breath Sounds (over the right lung lower lobe): No Accessory Muscle Use: Rhonchi
Mental Status: Abnormal (RASS -2)
Follows Commands: No
 (LOZADA,JAMES A MD)

Results
Results
                                                           Lab Results, CBC Diagram
10/18/16 05:45


                                             19.7


                                                           Lab Results, BMP Diagram
10/18/16 05:45


                                          --:-~6_6__.,__~~--1....1--~-~-2...::~3
                                                          Arterial Blood Gas
1017/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31 .3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97. 7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
Calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerrn , Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
(OLUBIYl,OLUTAYO I MD)
Lab Results

                        Item                                    Value           Date Time
                        Gentamicin Level Trouah                    0.8 ua/ml   10/16/16 1216
                        Calcium Level                           8.3 mq/dL L    10/18/16 0545
                        Phosphorus Level                          3.8 ma/dL    10/18/16 0545
                        Maanesium Level                           2.3 ma/dL    10/18/16 0545
                        Total Bilirubin                         2.4 mQ/dL H    10/18/16 0545
                        Direct Bilirubin                        1.8 mo/dL H    10/18/16 0545
                        Aspartate Amino Transf (AST/SGOT)         150 U/L H    10/18/16 0545
                        Alanine Aminotransferase IALT/SGPTl       11 7 U/L H   10/18/16 0545
                        Alkaline Phosphatase                         110 U/L   10/18/16 0545
                        Total Protein                             7.1 qm/dL    10/18/16 0545
                        Albumin                                 2.4 Qm/dL L    10/18/16 0545

blood ex ngtd 10/17, 10/14
Diagnostics Reviewed: Yes
(LOZADA,JAMES A MD)

Quality
Code Status: Full Code
 (OLUBIYl,OLUTAYO I MD)
Line Necessity Addressed: No
 (OLUBIYl,OLUTAYO I MD)
GI Prophylaxis: H2 Blockers
 (OLUBIYl,OLUTAYO I MD)
Indwelling Foley Catheter: No
(OLUBIYl,OLUTAYO I MD)
Central Venous Catheter: No
(OLUBIYl,OLUTAYO I MD)
1 :1 Sitter: Continued (Reminder: Enter Orders in POM)
Violent Restraints: Continued
(OLUBIYl,OLUTAYO I MD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Toxic encephalopathy
(3) Lactic acidosis

PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1018-0120
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



(4) Rhabdomyolysis
(5) Alcohol withdrawal delirium
(6) Urinary retention
(7) Suicidal overdose
(8) Drug overdose
Chronic Problems: (OLUBIYl,OLUTAYO I MD)
Problem List:
(1) Alcohol withdrawal delirium
(2) Acute respiratory failure with hypoxia and hypercapnia
(3) Pleural effusion
(4) LFTs abnormal
(5) Aspiration pneumonia
(6) Bacteremia
(7) Suicidal overdose
(8) Drug overdose
(9) HIV (human immunodeficiency virus infection)
Chronic Problems: (LOZADA,JAMES A MD)
Management Plan
Plan
NEU :
-Will continue CIWA protocol for acute alcohol withdrawal. score remained high overnight.
-will continue Haldol PRN.
-f/u Psych evaluation.
-Titrating down Precedex drip. currently at 1.2mcg/kg/hr

CV:
-Patient appears hemodynam ically stable overnight.
-No major issues noted overnight.

PULM :
-Patient is sating well on room air.
-Right lung pneumonia and pleural effusion on CXR largely unchanged from yesterday.
-for thoracentesis by IR today.

GI :
-No acute issues.
-will continue colace for constipation.

GU :
-Serum Cr is normal : 1.2 this AM.
-Will continue to trend CPK levels until normalize
-will continue Texas catheter until he is off restraints.

ID:
- will reculture blood sample for concerns of spikes of fever and leukocytosis
-WBC continues to trend up, 19.7 this AM from 18 yesterday.
-will f/u Sputum cultures for Pneumocystis, urine & blood cultures.


PATIENT: EFUNNUGA,OLUTOKUNBO
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-will complete ceftriaxone & gentamicin.

HEME/ONG:
-will continue DVT prophylaxis with Enoxaparin.

ENDO:
-No acute issues.
-Continue accuchecks and Regular insulin SS
-Keep sugars <180 and >60


F/E/N :
-Speech and swallow eval could not be performed yesterday due to heavy sedation of the patient.
-will reattempt speech/swallow eval today and possible diet feed if outcome is encouraging. otherwise will place a
NG feeding tube.
-meanwhile will keep NPO for now.
-Will continue to monitor and replete electrolytes as needed. Electrolytes currently stable.

SOCIAL:
      o Full code.
      o NOK:    Sheree Bradham (484) 420-5809 Mother
                Ellis Bradham (610) 348-4661 Father
                Tosin Efunnuga 267-918-4065 Sister
 (OLUBIYl,OLUTAYO I MD)
Plan
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Remains delirious and dependent on sedation via benzos via CIWA, precedex , haldol prn
Febrile with suspected parapneumonic effusion, LFTs also abnormal.
continue current sedative regimen and monitoring
needs pulm toilette - will make bronchodilators standing, give neb bicarb with BO treatments, chest PT, frequent
suction
will need DHT placed for tube feeds
u/s RUQ
IR for thoracentesis today - send chemistry, cell counts, pH, culture, cytology
genta trough nontoxic - cont abx as per ID
 (LOZADA,JAMES A MD)

Additional lnfonnation
Critical Care Time (mins): 34
Additional Comments
excludes procedures and teaching
(LOZADA,JAMESA MD)


OLUBIYl, OLUTAYO I MD                                                             Oct 18, 2016 08:26


PATIENT: EFUN NUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247



LOZADA.JAMES A MD                                                          Oct 18, 2016 10:16

         <Electronically signed by OLUTAYO I OLUBIYI, MD> 10/18/161904
         <Electronically signed by JAMES A LOZADA, MD> 10/18/16 1518




OLUBOL/ 00 I DD 10/18116 0826 / DT 10/18116 0826




PATIENT: EFUNNUGA,OLUTOKUNBO
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                                                   Mercy Fitzgerald Hospital
                                                      Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001 250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1018-0270                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN , MARIO, MD
PCP: DOCTOR,NONE (FAMILY)

                                                   ***Signed Status***


Subjective
Encounter Date & Time
10/18/1612:11
Service: Infectious Disease
Subjective
Pt responsive, disoriented, Tm 98.8, no increased respiratory distress, or emesis

Objective
Patient Data
                                           Vital Signs, Last Documented
        Date Time        Temo    Pulse    Re so B/P        Pulse Ox 02 Deliverv         0 2 Flow Rate   Fi02
       10/18/16 11 :00              99       44 140172           99 Nasal Cannula                4.00
       10/18/16 08:00     37.4
       10/15/16 19:00                                                                                     40

Weight in Kg
93.00
                                                            Bedside Blood Glucose
10/18/1611:42: POC Glucose 95

Physical Exam
anicteric no stridor or meningismusiv access i ntact Neuro no tremor appreciated

Results
                                                            Lab Results, CBC Diagram
10/18/16 05:45




                                                            Lab Results , BMP Diagram
10/18/16 05:45

                                             136       101
                                             4.6       25


PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                 Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




repeat blood els sterile
Imaging
CxR(my reading) : right plural effusion

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, echocardiogram= n o vegetations or valvular abnormality,
recommend TEE when logistically feasible
pneumonia: aspiration, complicated by right effusion
right pleural effusion: if process and I eukocytosis persists consideration of thoracentesis reasonable
HIVD: moderately advanced, CD4 240-300
elevated temperature : resolved, ordered sputum for cytology
confusion: analysis active,
leukocytosis: if presence of increased loose stool formation observed please send cytotoxin assay
abx mgmt:continue combination parental ceftriaxone and gentamicin
discussed clinical presentation with icu nursing staff

recommend TEE when logistically feasible


GILBERT.MARK, MD                                                              Oct 18, 2016 12:16

        <Electronically signed by MARK GILBERT, MD> 10/18/16 1217




GILBMA /MG I DD 10/181161216/DT10/18116 1216




PATIENT: EFUN NUGA,OLUTOKUNBO
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                                                Mercy Fitzgerald Hospital
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PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                             ADM IT DATE: 10/07/16
REPORT # : 1019-0037                           008: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/19/16 06:06
(IRIARTE OPORTO, BLANCA E MD)

Subjective
Hospital LOS days: 13
ICU LOS: 13
Subjective
Patient was seen and examined at bedside. Patient spiked a fever last evening : 102.3 F for which he was given
Tylenol. Per nurse, overnight patient was aggressive and threatening her, he received 2 doses of
Ativan.Thoracocentesis was not perform yesterday due to patient restlessness.
 (IRIARTE OPORTO, BLANCA E MD)
Subjective
Pt admits to SOB and cough. Denies pain.
 (LOZADA,JAMES A MD)
Review of Systems
Unable to Obtain: Altered Mental status (SEDATED)
(IRIARTE OPORTO, BLANCA E MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                          Medications Active List
      Medications            Dose                      Sig/Sch     Start Time          Status   Last Adm in
                             Ordered                               stop Time
      FolicAcid              1 mg                      DAILY       10/11/16 09:00               10/16/16 08:39

      Thiamine HCI            100 mg                   DAILY         10/11/16 09:00             10/16/16 08:39

      Enoxaparin Sodium      40 mg                     DAILY         10/11/16 10:45             10/18/16 09:59

      Insulin Human          SS LOW DOSE LOW          Q6             10/12116 07 :45
      Regular                INTENSITY
                             SCALE: Bl. ..
      Dextrose               16 gm                     PRN PRN       10/12/16 11 :45            10/12/16 12:41




PATIENT: EFUNNUGA,OLUTOKUNBO
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      Dextrose/Water         12.5 gm                    PRN PRN         10/12/16 11:45

      Doxazosin Mesylate     1 mg                       DAILY           10/13/16 09:00          10/16/16 08:40

      Acetaminophen          500 mg                     Q6H PRN         10/12/16 20:15           10/18/16 16:39

      Docusate Sodium        100 mg                     BID             10/14/16 11:30          10/18/16 20:51
      100 mQ
      Gentamicin             52.75 ml@                  Q8              10/14/16 21 :00          10/19/16 04:22
      Sulfate/Sodium         100 mis/hr
      Chloride
      Risperidone 2 mg       2 mg                       BID             10/15/16 12:15           10/18/16 20:51

      Ceftriaxone Sodium     100 ml@                    DAILY           10/17/16 09:00           10/18/16 09:59
                             100 mis/hr
      Lorazepam              1 mg                       Q1H PRN         10/16/16 11:00           10/18/16 22: 11

      Lorazepam              2 mg                       Q1H PRN         10/16/16 11:00           10/19/16 04:59

      Haloperidol            5 mg                       Q6 PRN          10/17/16 11 :15          10/19/16 02:30
      Lactate
      Guaifenesi n 200 mg    200 mg                     Q4H PRN         10/17/16 11 :30          10/19/16 04:22

      Dexmedetomidine        208 ml@O                   QOM PRN         10/18/16 08:30           10/19/16 01 :49
      HCl/Sodium             mis/hr
      Chloride
      Sodium Bicarbonate     3 meq                      Q6              10/18/16 11:00          10/19/16 01:46

      Albuterol/             3 ml                       Q6              10/18/16 10:28           10/19/16 01: 46
      loratrooium 3 ml
      Sodium Chloride        1,000 ml@                  Q10H            10/18/16 20:45          10/19/16 05:06
                             100 mis/hr                                 10/19/16 20:44

Titratable Med Infusions
Dexmedetom ide: RA TE: 30 m I/hr
               Dose: 1.2 mcg/kg/hr
(IRIARTE OPORTO, BLANCA E MD)
Active Meds Reviewed: Yes
(LOZADA.JAMES A MD)
Patient Data
                                                 Vital Signs 24 Hours
        Date Time        Temp     Pulse   Resp     B/P      Pulse Ox     02 Deliverv      02 Flow Rate   Fi02
       10/19/16 06:00                88     40     116/54         96     Nasal Cannula            2.00
       10/19/16 05:00                94     38     129/66         98     Nasal Cannula            2.00
       10/19/16 04:00     36.6       87     36     128/74         99     Nasal Cannula            2.00
       10/19/16 04:00                                                    Nasal Cannula            2.00


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       10/19/16 03:00               100      41      120/60         96    Nasal Cannula           2.00
       10/19/16 02 :30               86      30                    100
       10/19/16 02 :00     36.5      84      39      118/59        100    Nasal Cannula           2.00
       10/19/16 01 :46               89      39                     93
       10/19/16 01 :00               84      37      122/51         98    Nasal Cannula           2.00
       10/19/16 00:00      37.0      89      46      121/69         97    Nasal Cannula           2.00
       10/19/16 00:00                                                     Nasal Cannula           2.00
       10/18/16 23:00      37.3     100      38      111/53         98    Nasal Cannula           2.00
       10/18/16 22:00               107      44      101/76         98    Nasal Cannula           2.00
       10/18/16 21 :36              101      28                     96
       10/18/16 21 :00               94      38      140/68         97    Nasal Cannula           2.00
       10/18/16 20:00      39.1     114      43      145/76         98    Nasal Cannula           2.00
       10/18/16 20:00                                                     Nasal Cannula           2.00
       10/18/16 19:00                98      39      153/69         99    Nasal Cannula           2.00
       10/18/16 18:00      38.4     105      43      154/70         99    Nasal Cannula           2.00
       10/18/1617:00                119      49      151/70         95    Nasal Cannula           2.00
       10/18/1616:30       39.2     108      43      144/66         97    Nasal Cannula           2.00
       10/18/1616:07                114      24                     94
       10/18/16 16:00                                                     Nasal Cannula           4.00
       10/18/1615:00                101      41      118/85         97    Nasal Cannula           4.00
       10/18/16 14:00               104      29      157173         93    Nasal Cannula           4.00
       10/18/1613:00                 92      34      124/61         98    Nasal Cannula           4.00
       10/18/1612:00       38.5      95      42      133/66         99    Nasal Cannula           4.00
       10/18/16 12:00                                                     Nasal Cannula           4.00
       10/18/16 11 :00               99      44      140/72         99    Nasal Cannula           4.00
       10/18/1610:00                 97      46      144/62         98    Nasal Cannula           4.00
       10/18/16 09:00                96      29      126/65        100    Nasal Cannula           4.00
       10/18/16 08:00                                                     Nasal Cannula           4.00
       10/18/16 08:00      37.4      93      38      140/66        100    Nasal Cannula           4.00

Weight in Kg
93.00
                                                              Bedside Blood Glucose Last 24h
10/18/1611:42: POC Glucose 95
10/18/16 16:34: POC Glucose 79
10/18/16 21 :42: POC Glucose 113
10/19116 04:26: POC Glucose 121


                                                                           10/19/16
                                                                              07 :00
                                     Intake Total                        4055.50 ml
                                     Out out Total                          2875 ml
                                     Balance                             1180.50 ml

                                     Intake Oral                               Oml
                                     IV Total                            2955.50 ml

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                                    Tube Feedina                         475 ml
                                    Tube lrriQant                        625 ml
                                    Output Urine Total                  2875 ml
                                    #Voids                                     2

Sedation Score Actual
-2

(IRIARTE OPORTO,BLANCA E MD)

Physical Exam
Appearance: : No Acute Distress
Head Exam: : Moist Mucous Membranes: Normocephalic: Symmetric
HEENT: : Other: PERRL: Sciera Anicteric
Thorax: : Accessory Muscle Use: Decreased Breath Sounds (ON RIGHT LOWER LUNG LOBE): Rhonchi (ON
BOTH LUNG FIELDS )
Cardiovascular: : No JVD: Regular Rate Rhythm (88 BPM)
Abdomen: : Non-distended: Non-tender: Soft
Skin: : Skin Color Normal : Skin Temperature Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Abnormal (RASS -2 )
Follows Commands: No
(IRIARTE OPORTO,BLANCA E MD)
Appearance: : No Acute Distress
Thorax: : No Accessory Muscle Use
Mental Status: Abnormal (RASS -1, disoriented (oriented to self only))
Follows Commands: Yes
Motor Response
no tremor
(LOZADA.JAMES A MD)

Results
Results
                                                          Arterial Blood Gas
1017/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31 .3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,


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Arterial Blocx:J HC03 29.5, Arterial Bid 02 Saturation (Measur) 97. 7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm , Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Lab Results

                                                            Laboratory Tests & Results
              Test                         Range/Units      10/16/16   10/16/16 10/16/16         10/17/16
                                                               10:48      12:16     16:41           04:42
              POC Glucose                 70-99 ma/dl         104 H                    90              90
              Gentamicin Level Trouah                                 0.8 ua/ml

          Test                               Range/Units          10/17/16    10/17/16    10/17/16   10/17/16
                                                                     05:50       11 :39      16:44      22 :37
          White Blood Count                           4.5-11 .0     18.3 H
                                             Thou/ul
          Red Blood count                            4.70-6.10      3.66 L
                                             Mill/UI
          Hemoalobin                          13.5-17.5 o/dL       11 .9 L
          Hematocrit                             41 .0-53.0 %      35.2 L
          Mean Corpuscular Volume                   80-100 fl        96.4
          Mean Corpuscular Hemoolobin           28.4-32 .0 oa      32 .6 H
          Mean Corpuscular Hemoglobin         32 .6-34.8 g/dl        33.8
          Con cent
          Red Cell Distribution Width          11 .5-14.5 %          13.5
          Platelet Count                             150-450        464 H
                                            THOU/UL
          Mean Platelet Volume                  7.4-10.4 fl           8.8
          Neutroohils %                        42.0-75.0 %         84.3H
          Lymphocytes%                         18.0-44.0 %          6.2 L
          Monocvtes %                           0.0-18.0 %            8.1
          Eosinophils %                           0.0-5.0 %           1.2
          Basoohils %                             0.0-2.0 %           0.2
          Neutrophils #                               1.8-8.0      15.4 H
                                            Thou/UL
          Lymphocytes#                                1.2-4.2         1.1 L
                                            Thou/ul
          Monocytes#                                  0.0-1 .0      1.5 H
                                            Thou/ul
          Eosinophils #                               0.0-0.7          0.2
                                            Thou/ul
          Basophils#                                  0.0-0.5          0.0
                                            Thou/ul
          Sodium Level                      136-147 mEq/L              140
          Potassium Level                    3.6-5.2 mEq/L             4.5
          Chloride Level                    98-108 mmol/L              102
          carbon Dioxide Level               23-32 m mol/L              28


PATIENT: EFUNNUGA,OLUTOKUNBO
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          Anion Gap                               6.0-16             10.0
          Blood Urea Nitroaen               6-22 mQ/dL                 16
          Creatinine                     0.8-1 .4 mQ/dL               1.1
          Estimate Glomerular           >60 mUmin             > 60
          Filtration Rate
          Estimated GFR (African        >60 mUmin/1           > 60
          American)
          BUN/Creatinine Ratio                    7-23             14.5
          Glucose Level                    70-99 mQ/dL              88
          Galcium Level                 8.8-10.5 ma/dL            8.1 L
          Phosphorus Level               2.5-4.5 mQ/dL              3.9
          Mai:inesium Level              1.8-2.4 mQ/dL              2.4
          POC Glucose                      70-99 ma/dl                           84         91         89

          Test                           Range/Units          10/18/16      10/18/16   10/18/16   10/18/16
                                                                 05:23         05:45      08:51      11 :42
          POC Glucose                       70-99 ma/dL             98                                  95
          White Blood Count                       4.5-11 .0                  19.7 H
                                         Thou/ul
          Red Blood Count                        4.70-6.10                    3.56 L
                                         Mill/UI
          Hemoqlobin                      13.5-17.5 Q/dl                     11 .7 L
          Hematocrit                         41 .0-53.0 %                    34.1 L
          Mean Corpuscular Volume               80-100 fl                      95.8
          Mean Corpuscular Hemoglobin       28.4-32.0 oa                     33.0 H
          Mean Corpuscular Hemoglobin     32.6-34.8 g/dl                       34.5
          Con cent
          Red Cell Distribution Width       11.5-14.5 %                        13.6
          Platelet Count                         150-450                      520 H
                                         THOU/UL
          Mean Platelet Volume               7.4-10.4 fl                        8.7
          NeutroPhils %                     42.0-75.0 %                      83.3 H
          Lymphocytes "lo                   18.0-44.0 %                       7.4 L
          Monocvtes %                        0.0-18.0 %                         8.2
          EosinoPhils %                       0.0-5.0 %                         0.7
          Basophils%                          0.0-2.0 %                         0.4
          Neutrophils #                           1.8-8.0                    16.4 H
                                         Thou/ul
          Lymphocytes#                            1.2-4.2                        1.5
                                         Thou/ul
          Monocytes #                             0.0-1.0                     1.6 H
                                         Thou/uL
          Eosinophils #                           0.0-0.7                       0.1
                                         Thou/uL
          Basophils#                              0.0-0.5                       0.1
                                         Thou/uL
          Sodium Level                   136-147 mEa/L                          136


PATIENT: EFUNNUGA,OLUTOKUNBO
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         Potassium Level                   3.6-5.2 mEa/L                         4.6
         Chloride Level                   98-108 mmol/L                          101
         Carbon Dioxide Level              23-32 m mol/L                          25
         Anion Gao                                 6.0-16                       10.0
         Blood Urea Nitroaen                  6-22 ma/dL                           18
         Creatinine                        0.8-1.4 ma/dL                          1.2
         Estimate Glomerular              >60 mUmin                      > 60
         Filtration Rate
         Estimated GFR (African           >60 mUmin/1                    > 60
         American)
         BUN/Creatinine Ratio                        7-23                     15.0
         Glucose Level                       70-99 mo/dL                       93
         Calcium Level                    8.8-10.5 ma/dL                     8.3 L
         Phosohorus Level                  2.5-4.5 ma/dL                       3.8
         Maqnesium Level                   1.8-2.4 ma/dL                       2.3
         Total Bilirubin                   0.2-1 .2 ma/dL                   2.4 H
         Direct Bilirubin                    0-0.3 mo/dL                    1.8 H
         Aspartate Amino Transferase            14-51 U/L                   150 H
                                  (AST)
         Alanine Aminotransferase <ALT)          7-60 U/L                   117 H
         Alkaline Pho!>,[)hatase               42-157 U/L                     110
         Total Protein                      6.3-8.2 am/dL                      7.1
         Albumin                            4.1-5.4 om/dL                    2.4 l
         Globulin                             2.3-3.5 a/dL                  4.7 H
         Albumin/Globulin Ratio                  0.74-3.85                     1.0
         Lactate Dehvdroaenase                127-239 U/L                                  371 H

          Test                            Range/Units         10/18/16   10/18/16       10/19/16    10/19/16
                                                                 16:34      21 :42         04 :26      05:45
          POC Glucose                        70-99 ma/dL            79      113 H         121 H
          White Blood Count                        4.5-11.0                                          20.0 H
                                          Thou/uL
          Red Blood Count                         4.70-6.10                                           3.52 L
                                          Mill/UI
          HemoQlobin                       13.5-17.5 q/dl                                            11 .8 L
          Hematocrit                          41.0-53.0 %                                            33.4 L
          Mean Corouscular Volume                80-100 fl                                             94.7
          Mean Corouscular Hemoalobin        28.4-32 .0 nn                                           33.5 H
          Mean Corpuscular Hemoglobin      32.6-34.8 g/dl                                            35.4 H
          Concent
          Red Cell Distribution Width        11 .5-14.5 %                                               13.4
          Platelet Count                          150-450                                             531 H
                                          THOU/UL
          Mean Platelet Volume                7.4-10.4 fl                                               8.6
          Sodium Level                    136-147 mEa/L                                               133 L
          Potassium Level                  3.6-5.2 mEa/L                                                4.4
          Chloride Level                  98-108 mmol/l                                                  98


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



          Carbon Dioxide Level               23-32 m mol/L                                                 25
          Anion Gao                                  6.0-16                                              10.0
          Blood Urea Nitroaen                  6-22 ma/dL                                                  16
          Creatinine                         0.8-1.4 mQ/dL                                                1. 1
          Estimate Glomerular               >60 mUmin                                             > 60
          Filtration Rate
          Estimated GFR (African            >60 mUmin/1                                           > 60
          American)
          BUN/Creatinine Ratio                        7-23                                             15.0
          GI ucose Level                       70-99 ma/dL                                           131 H
          Calcium Level                     8.8-10.5 ma/dL                                            8.3 L
          Phosphorus Level                   2.5-4.5 mg/dL                                              4.5
          Maanesium Level                    1.8-2.4 ma/dL                                              2.2

Diagnostics Reviewed: Yes
Imaging
Chest US: Small - moderate loculated pleural effusion on right lower lobe.
Chest X-ray: Loculated pleural effusion on right lower lobe (increased in size from previous one. Consolidations on
right lower lobe.
 (IRIARTE OPORTO, BLANCA E MD)
                                                            Lab Results, CBC Diagram
10/19/16 05:45




                                                          Lab Results, BMP Diagram
10/19/16 05:45




Lab Results

                        Item                                    Value            Date Time
                        Calcium Level                           8.3 ma/dL L     10/19/16 0545
                        Phosphorus Level                          4.5 mQ/dL     10/19/16 0545
                        Maanesium Level                           2.2 ma/dL     10/19/16 0545
                        Total Bilirubin                         2.3 mg/dL H     10/19/16 0545
                        Direct Bilirubin                        1.7 ma/dL H     10/19/16 0545
                        Asoartate Amino Transf (AST/SGOT)         239 U/L H     10/19/16 0545
                        Alanine Aminotransferase (ALT/SGPT)       154 U/L H     10/19/16 0545
                        Alkaline Phosphatase                        116 U/L     10/19/16 0545
                        Total Protein                             7.1 am/dL     10/19/16 0545
                        Albumin                                 2.4 am/dL L     10/19/16 0545


PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247




blood ex ngtd 10/17, 10/14
Diagnostics Reviewed: Yes
Imaging
cxr
IMPRESSION: Dobbhoff tube terminates in stomach. Large right loculated pleural effusion slightly increased from
prior imaging . Associated right-sided opacities may reflect atelectasis, ho1Never, underlying pneumonia is not
excluded .
 (LOZADA,JAMES A MD)

Quality
Discussed care Plan with: Patient
Code Status: Full Code
 (IRIARTE OPORTO,BLANCA E MD)
Lines Tubes and Catheter: PICC, other (Dobhoff tube )
Line Necessity Addressed: Yes
 (IRIARTE OPORTO,BLANCA E MD)
VTE Prophylaxis Ordered: Yes
 (IRIARTE OPORTO,BLANCA E MD)
Indwelling Foley Catheter: No
 (IRIARTE OPORTO,BLANCA E MD)
1 :1 Sitter: Continued
Non-Violent Restraints: Continued
 (IRIARTE OPORTO.BLANCA E MD)

Impression and Plan
Assessment
Problem List:
(1) Alcohol withdrawal delirium
(2) Acute respiratory failure with hypoxia and hypercapnia
(3) Pleural effusion
(4) LFTs abnormal
(5) Aspiration pneumonia
(6) Bacteremia
(7) Suicidal overdose
(8) Drug overdose
(9) HIV (human immunodeficiency virus infection)
Chronic Problems: (IRIARTE OPORTO,BLANCA E MD)

Management Plan
Plan
NEU :
- We will discontinue CIWA protocol.
- will continue Haldol PRN 06 for agitation .
- We will follow up with Psych evaluation in regards of 302 status.


PATIENT: EFUN NUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
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PATIENT : EFUNNUGA,OLUTOKUNBO                                                MR#: F001250247



- We will titrate down Precedex drip as tolerated

Cl/:

-Patient appears hemodynamically stable overnight.
-No major issues noted overnight.

PULM :
- Tachypneic, saturating at 96% on 3 L via NC.
- CXR shows: right lung hyperdensities and right loculated-pleural effusion slightly increased from previous imaging,
impressive of Pneumonia/aspiration PNA.
- Thoracocentesis was not done due to restlessness.
- Continue with neb Bicarbonate with BD, bronchodilators standing, chest PT, frequent suction
- Pulmonary Toilette
- We will reculture sputum


GI :

- No acute issues.
- Continue with Colace for constipation.
- Duffhob Tube was placed yesterday.

GU :
- Serum Cr is normal : 1.1 this AM .
- Continue Texas catheter until he is off restraints.

ID:

- WBC continues trending up, 20 this AM from 19 yesterday.
- Blood cultures are negative to date vve will follow up with final result
- f/u Sputum cultures for Pneumocystis and final urine culture
- Continue with ceftriaxone & gentamicin.

HEME/ONG:
-will continue DVT prophylaxis with Enoxaparin.

ENDO:
-No acute issues.
-Continue accuchecks and Regular insulin SS
-Keep sugars <180 and >60


F/E/N :
- Patient Dobbhoff tube was placed yesterday, CXR shov.is it terminates in stomach.
- Continue Jevit 1.5 ; Feeding rate= 55 ml ; Flush 50 ml every hr.
- Will continue to monitor and replete electrolytes as needed. Electrolytes currently within normal limits.



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                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



SOCIAL:
        Full code.
        NOK: Sheree Bradham (484) 420-5809 Mother
                Ellis Bradham (610) 348-4661 Father
                Tosin Efunnuga 267-918-4065 Sister
 (IRIARTE OPORTO,BLANCA E MD)
Plan
I have seen and evaluated the patient, revie1Ned and discussed the plan of care with house staff, and agree as
documented with the following comments:

Periods of lucidity, decreasing requirement for sedation.
Remains delirious but improving.
Ongoing fever, concern for parapneumonic effusion, biliary infection, recurrent aspiration pna
Remains on 302, psychiatry has yet to evaluate - will expedite psych evaluation
decrease precedex as tolerated, goal is off
stop CIWA/ativan, start clonazepam bid, continue haldol prn, risperdal standing
cont abx
reculture sputum, check UA
discussed with pt's mother at bedside
 (LOZADA.JAMES A MD)

Additional lnfonnation
Critical Care Time (mins): 35
Additional Comments
excludes procedures and teaching
(LOZADA,JAMESA MD)


IRIARTE OPORTO.BLANCA E MD                                                     Oct 19, 2016 06:11
LOZADA, JAMES A MD                                                             Oct 19, 2016 10:26

         <Electronically signed by BLANCA E IRIARTE OPORTO, MD> 10/20/16 0629
         <Electronically signed by JAMES A LOZADA, MD> 10/19/16 1810




IRIABLI BIO I DD 10119116 0611 IDT 10119116 0611




PATIENT: EFUNNUGA,OLUTOKUNBO
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                                                       Mercy Fitzgerald Hospital
                                                              Internal Med Progress Note
PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247
ACCT: FA1307223089                                     ADMIT DATE: 10/07/16
REPORT #: 1019-0119                                    OOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                       ***Signed Status***


Subjective
Encounter Date & Time
10/19/16 08:19
Subjective
pt seen, chart reviewed , febrile last pm , agitated

Objective
Patient Data
                                              Vital Signs, Last Documented
         Date Time        Temp      Pulse    Resp       B/P       Pulse Ox    02 Deliverv     02 Flow Rate   Fi02
        10/19/16 08:00                 90      23                       98
        10/19/16 08:00      37.4                        125/62                Nasal Cannula           2.00
        10/15/1619:00                                                                                          40

Weight in Kg
93.00
                                                                 Bedside Blood Glucose
10/19/16 04:26: POC Glucose 121

Results
                                                                 Lab Results, CBC Diagram
10/19/16 05:45




                                                                 Lab Results, BMP Diagram
10/19/16 05:45




Impression and Plan
Problem List:


PATIENT: EFUNNUGA,OLUTOKUNBO
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                          Mercy Fitzgerald Hospital
                                    Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



(1) Aspiration pneumonia
Impression and Plan: wbc and fever noted, continue gentamicin and Rocephin
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Currently stable status post extubation, continue to monitor respiratory status
(3) AKI (acute kidney injury)
Impression and Plan: Resolved
(4) Toxic encephalopathy
Impression and Plan: Plan to continue with close clinical monitoring and sedatives, continue restraints as needed
await psychiatry input
Chronic Problems:


HAMID.SAMMY, MD                                                              Oct 19, 2016 08:20

         <Electronically signed by SAMMY HAMID, MD> 10120/16 0638




HAMISA I SH I DD 10/19/16 0820 IDT 10/19/16 0820




PATIENT: EFUNNUGA,OLUTOKUNBO
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                                                 Mercy Fitzgerald Hospital
                                                      Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT # : 1020-0067                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/20/16 06:29
(IRIARTE OPORTO,BLANCA E MD)

Subjective
Hospital LOS days: 14
ICU LOS: 14
Subjective
Patient was examined at bedside. Patient is calm , alert and oriented to person. He complaints of chest pain on right
lower hemithorax . He continues coughing, denies sputum production. overn ight: He spiked a fever ( 39.2 ) , and
team ordered a blood culture. Yesterday, he pulled out his Duffhoff tube twice.
 (IRIARTE OPORTO,BLANCA E MD)
Subjective
Thick tan secretions, better mental status- calm and A&O x 1
 (MANNS,STEPHENIE T MD)
Review of Systems
Unable to Obtain: Uncooperative Patient
(IRIARTE OPORTO,BLANCA E MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                           Medications Active List
      Medications             Dose                      Sig/Sch     start Time          status    Last Admin
                              Ordered                               Stoo Time
      FolicAcid               1 mg                      DAILY       10/11/16 09:00                10/19/16 09:03

      Thiamine HCI            100 mg                    DAILY         10/11/16 09:00              10/19/16 09:03

      Enoxaparin Sodium       40 mg                     DAILY         10/11/16 10:45              10/19/16 09:03

      Insulin Human           SS LOW DOSE LOW           Q6            10/12/16 07:45
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16 gm                     PRN PRN       10/12/1611:45               10/12/1612:41




PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                                  MR#: F001250247



      Dextrose/Water             12.5 gm                    PRN PRN          10/12/1611:45

      Doxazosin Mesylate         1 mg                       DAILY            10/13/16 09:00           10/19/16 09:03

      Acetaminophen              500 mg                     Q6H PRN          10/12/16 20:15           10/20/16 00: 12

      Docusate Sodium            100 mg                     BID              10/14/1611:30            10/19/16 09:03
      100ma
      Gentamicin                 52.75 ml@                  Q8               10/14/16 21 :OD          10/20/16 04:35
      Sulfate/Sodium             100 mis/hr
      Chloride
      Risperidone 2 mg           2 mg                       BID              10/15/16 12:15           10/19/16 09:03

      Ceftriaxone Sodium         100 ml@                    DAILY            10/17/16 09:00           10/19/16 09:02
                                 100 mis/hr
      Haloperidol                5 mg                       Q6 PRN           10/17/1611:15            10/19/16 02:30
      Lactate
      Guaifenesin                200 mg                     Q4H PRN          10/17/16 11:30           10/19/16 04:22

      Sodium Bicarbonate         3 meq                      Q6               10/18/1611:00            10/20/16 01 :40

      Albuterol/                 3 ml                       Q6               10/18/16 10:28           10/20/16 01:39
      lpratropium
      Clonazepam 1 mg            1 mg                       BID              10/19/16 10:45           10/19/1611:29

      Dexmedetomidine            208 ml@O                   QOM PRN          10/19/16 10:34           10/20/16 03: 10
      HCI 800 mcg/               mis/hr
      Sodium Chloride
      Sodium Chloride            1,000 ml@                  Q10H             10/19/16 23:45           10/20/16 00:13
                                 100 mis/hr

Titratable Med Infusions
PRECEDEX 0.8 mcg/Kg/Hr
(IRIARTE OPORTO,BLANCA E MD)
Active Meds Reviewed: Yes
(MANNS,STEPHENIE T MD)
Patient Data
                                                     Vital Signs 24 Hours
       Date Time         Temp      Pulse      Resp    B/P        Pulse Ox      02 Delivery      02 Flow Rate   Fi02
      10/20/16 06:00                107         28      120/59         96      Nasal Cannula            2.00
      10/20/16 05:00                101         39      116/60        100      Nasal Cannula            2.00
      10/20/16 04:00                106         43      119/62         99      Nasal Cannula            2.00
      10/20/16 04:00                                                           Nasal Cannula            2.00
      10/20/16 03:00                    104     35     118/61           96     Nasal Cannula            2.00
      10/20/16 02:00      37.6          108     29     120/58           97     Nasal Cannula            2.00
      10/20/16 01 :57                   109     18                      98


PATIENT: EFUN NUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



      10/20/16 01 :40              108     33                        98
      10/20/16 01 :00              114     28      136/113           96   Nasal Cannula           2.00
      10/20/16 00:00                                                      Nasal Cannula           2.00
      10/20/16 00:00      39.2     116     25       132/69           98   Nasal Cannula           2.00
      10/19/16 23:00               119     48       128/66           96   Nasal Cannula           2.00
      10/19/16 22 :00              126     43       123/90           95   Nasal Cannula           2.00
      10/19/16 21 :00              125     45       129/64           97   Nasal Cannula           2.00
      10/19/16 20:35               118     40                        96
      10/19/16 20:00      39.2     131     53       134/66           96   Nasal Cannula           2.00
      10/19/16 20:00                                                      Nasal Cannula           2.00
      10/19/16 19:00               128     43       107/69           94   Nasal Cannula           2.00
      10/19/16 18:00               111     34       128/69           96   Nasal Cannula           2.00
      10/19/16 17:00               112     40       135/66           97   Nasal Cannula           2.00
      10/19/16 16:00               115     35       146/69           95   Nasal Cannula           2.00
      10/19/16 15:42                                                      Nasal Cannula           2.00
      10/19/1615:35       38.5     103     40       131/65           95   Nasal Cannula           2.00
      10/19/16 15:00               101     43       124/58           95   Nasal Cannula           2.00
      10/19/16 14:00                99     30       105/91           99   Nasal Cannula           2.00
      10/19/16 13:49                97     20                        98
      10/19/16 13:00                98     35       131/56           95   Nasal Cannula           2.00
      10/19/16 12:00                                                      Nasal Cannula           2.00
      10/19/16 12:00      38.5     102     31       127/61           96   Nasal Cannula           2.00
      10/19/16 11 :00               99     25       122/59           96   Nasal Cannula           2.00
      10/19/16 10:00               100     28       121/53           97   Nasal Cannula           2.00
      10/19/16 09:00               102     32       127171           95   Nasal Cannula           2.00
      10/19/16 08:00                                                      Nasal Cannula           2.00
      10/19/16 08:00                90     23                        98
      10/19/16 08:00      37.4      90     29       125/62           99   Nasal Cannula           2.00
      10/19/16 07 :00               84     22       125/64           98   Nasal Cannula           2.00

Weight in Kg
92.60
                                                             Bedside Blood Glucose Last 24h
10/19/1611:11: POC Glucose 130
10/19/16 16:59: POC Glucose 132
10/19/16 22:23: POC Glucose 108
10/20/16 04:05: POC Glucose 103


                                                                           10/20/16
                                                                              07 :00
                                    Intake Total                          3869.4 ml
                                    Out ut Total                            4276 ml
                                    Balance                               -406.6 ml

                                    IV Total                              2809.4 ml
                                    Tube Feedin                             585 ml

PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR# : F001250247



                                  Tube lrriQant                         475 ml
                                  Outout Urine Total                   4276 ml
                                  #Voids                                     4

Sedation Score Actual
0
(IRIARTE OPORTO, BLANCA E MD)

Physical Exam
Appearance: : Alert: Appears stated Age : No Acute Distress
Head Exam: : Moist Mucous Membranes: Normocephalic: Symmetric
HEENT: : EOMI : Moist Mucous Membranes: PERRL: Sciera Anicteric
Thorax: : Decreased Breath Sounds (On right lower field ) : No Accessory Muscle Use: Other (T ACHYPNEIC)
Cardlovascular: : Regular Rate Rhythm : Tachycardia No: No JVD
Abdomen: : Bovvel Sounds Noted : Non-tender: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal : Skin Temperature Normal : Skin Turgor Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Normal
(IRIARTE OPORTO,BLANCA E MD)

Results
Results
                                                         Lab Results, CBC Diagram
10/20/16 04:15




                                                         Lab Results, BMP Diagram
10/20/16 04:15



                                        4:71 25
                                                            t__
                                        -~~1_3_4"""-.,_9_9___    __-<.~6
                                                                12
                                                                1.2 '-.:

                                                         PT/PTT/INR
10/20/16 04:15:
Prothrombin Time 16.3, ProthrombTime International Ratio 1.4




PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



                 MERCY HEALTH SYSTEM LABORATORY
                  MERCY FITZGERALD HOSPITAL
                   1500 LANSDOWNE AVENUE
                 DARBY, PA 19023 (610)237-4742
               SAMIA HENIEN, M.D. MEDICAL DIRECTOR

                        LABORATORY REPORT


NAME:EFUNNUGA,OLUTOKUNBO          DOS : 10/07/16                 LOC:Fl51CU
AGE/SEX :37/M  DOB:03/06/1979 ACCT : FA1307223089                MR: F001250247
ATTEND DR: LITTMAN .MARIO, MD


KEY H - Abn High *H - Critical High * - High or Low(Alpha results) # - Delta Check
  L -Abn Low *L - Critical LON * - Microbiology Abn Result



SPEC#:Fl 16: M0022636R COLLECTED: 10/19/16-2231 RECEIVED: 10/19/16-2255
SUBMITTING DR: BORIKAR, MADHURA S MD          CC: DOCTOR.NONE (FAMILY)
                           LITTMAN.MARIO, MD
                           MCNAMEE JR.WILLIAM B, MD
                           THOMPSON.TROY L MD
                           WALl ,SALMAN MD

SOURCE: SPUTUM                       EXPECTORATED SPUTUM

Procedure                  Result              Verified     Site

 RESPIRATORY CULTURE Preliminary               10/19/16-2312
   GRAM STAIN RESULT
                 MANY WHITE BLOOD CELLS
                 MODERATE EPITHELIAL CELLS
                 MANY GRAM POSITIVE COCCI IN PAIRS
                 MODERATE GRAM POSITIVE COCCI IN CHAINS
                 FEW GRAM NEGATIVE RODS




PATIENT: EFUN NUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247




          NAME: EFUNNUGA,OLUTOKUNBO              UNIT: F001250247
                               ACCT : FA1307223089
          PRINTED:10/19/16 2312          PAGE:    **END OF REPORT**

Diagnostics Reviewed: Yes
Imaging
Liver US: subcentimeter echodense lesion within the anterior segment of the right hepatic lobe, probably
hemangioma measuring 6 x 7 x 7 mm .
 (IRIARTE OPORTO,BLANCA E MD)
Diagnostics Reviewed: Yes
Imaging
I personally reviewed pCXR from 10/18:

IMPRESSION: Dobbhoff tube terminates in stomach. Large right loculated pleural effusion slightly increased from
prior imaging. Associated right-sided opacities may reflect atelectasis, however, underlying pneumonia is not
excluded .
 (MANNS,STEPHENIE T MD)

Quality
Discussed care Plan with: Patient
Code Status: Full Code
 (IRIARTE OPORTO, BLANCA E MD)
Lines Tubes and Catheter: PICC ((10/11/2016) ), Other (Texas Catheter)
 (IRIARTE OPORTO, BLANCA E MD)
VTE Prophylaxis Ordered: Yes
 (IRIARTE OPORTO,BLANCA E MD)
lndwelllng Foley catheter: No
 (IRIARTE OPORTO.BLANCA E MD)
Central Venous catheter: No
 (IRIARTE OPORTO,BLANCA E MD)
1:1 Sitter: Continued
Non-Violent Restraints: Continued
 (IRIARTE OPORTO, BLANCA E MD)




PATIENT: EFUNNUGAOLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                     MR#: F001250247



Impression and Plan
Assessment
Problem List:
(1) Alcohol withdrawal delirium
(2) Acute respiratory failure with hypoxia and hypercapnia
(3) Pleural effusion
(4) LFTs abnormal
(5) Aspiration pneumonia
(6) Bacteremia
(7) suicidal overdose
(8) Drug overdose
(9) HIV (human immunodeficiency virus infection)
Chronic Problems: (IRIARTE OPORTO,BLANCA E MD)
Problem List:
(1) Pleural effusion
(2) Aspiration pneumonia
(3) Alcohol withdrawal delirium
(4) LFTs abnormal
(5) Bacteremia
(6) HIV (human immunodeficiency virus infection)
(7) Suicidal overdose
Chronic Problems: (MANNS,STEPHENIE T MD)
Management Plan
Plan
NEU:
- will continue Haldol PRN Q6 for agitation.
- We will follow up with Psych evaluation in regards of 302 status.
- We will titrate down Precedex drip as tolerated

OJ:
- Patient appears hemodynamically stable overnight.
-No major issues noted overnight .

PULM:
- Tachypneic, saturating at 96% on 2 L via NC.
- CXR shows: right lung hyperdensities and right loculated-pleural effusion slightly increased from
previous imaging, impressive of Pneumonia/aspiration PNA.
- We will obtain Chest CT and consult IR for thoracocentesis
- Continue with neb Bicarbonate with BD, bronchodilators standing, chest PT, frequent suction
- Pulmonary Toilette
- Preliminary sputum cultures results showed: Many gram positive cocci in clusters, moderate gram
positive cocci in chains and few gram negative rods .
GI:


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1020-0067
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247




- No acute issues.
- Continue with Colace/Miralax for constipation.
- Duffhob Tube was placed yesterday.
- LFTs trending down

GU:
- Serum Cr is normal: 1.1 this AM.
ID:
-     WBC trended down, 15 this AM from 20 yesterday.
-     Blood cultures are negative to date we will follow up with final result
-     f/u Sputum cultures for Pneumocystis and final urine culture
-     Continue with ceftriaxone & gentamicin .

HEME/ONC:
-will continue DVT prophylaxis with Enoxaparin .

ENDO:
-No acute issues.
-Continue accuchecks and Regular insulin SS
-Keep sugars < 180 and >60


F/E/N:

- Patient sodium is 134.
- Wiii continue to monitor and replete electrolytes as needed.

SOCIAL:
      Full code.
      NOK:     Sheree Bradham ( 484) 420-5809 Mother
              Ellis Bradham (610) 348-4661 Father
             Tosln Efunnuga 267-918-4065 Sister
(IRIARTE OPORTO, BLANCA E MD)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 40 (excluding procedures and teaching)
(MANNS,STEPHENIE T MD)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:
(IRIARTE OPORTO,BLANCA E MD)


PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1020.0067
REPORT STATUS: Signed
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                           Mercy Fitzgerald Hospital
                                      Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Continued fevers with pleuritic chest pain and loculated pleural effusion.
Mental status improved and will d/w IR for repeat attempt for thoracentesis given concern for loculated effusion with
possible empyema
Sending for CT scan chest today.
Sip bacteremia, now cleared. Continues on ceftriaxone and gent, ID following .
weaning precedex given improved mental status. S/p ETOH w/d, continue close monitoring.
Following abnormal LFTs.
HIV, ID following. Not currently on HAART
Continues on 1:1 observation, psych consulted
TF nutrition restarted .
Increase his bowel regimen for constipation.
D/w ICU RN and team
 (MANNS,STEPHENIE T MD)


IRIARTE OPORTO,BLANCA E MD                                                     Oct 20, 2016 06:34
MANNS.STEPHENIE T MD                                                           Oct 20, 2016 10:43

         <Electronically signed by BLANCA E IRIARTE OPORTO, MD> 10/20/16 1807
         <Electronically signed by STEPHENIE T MANNS, MD> 10/20/16 1049




IRIABL I BIO I DD 10/20/16 0634 / DT 10/20/16 0634




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1020-0067
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD             Document 15-9          Filed 05/03/18        Page 40 of 89



                                                  Mercy Fitzgerald Hospital
                                                      Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA 1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1020-0488                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                  *** Signed Status ***

Subjective
Encounter Date & Time
10/20/16 18:31
Service: Infectious Disease
Subjective
Pt alert, verbal, disoriented to time and place, Tm 101-102, sip right thoracentesis, no emesis or increase stool
formation

Objective
Patient Data
                                           Vital Signs, Last Documented
        Date Time        Temp     Pulse   Resp B/P         Pulse Ox 02 Delivery           02 Flow Rate      Fi02
       10/20/1617:00               135      46 158172            96 Nasal cannula                 2.00
       10/20/16 16:11     38.4

Weight in Kg
93.00
                                                            Bedside Blood Glucose
10/20/16 17:06: POC Glucose 109

Physical Exam
Tm 101-102

anicteric pupils reactive nasogastric tube intact no stridor or meningismus lung decreased bs bases no cardiac mfr
appreciated abd hypoactive nontender no guarding or pulsation no peripheral edema iv access intact Neuro no
tremor appreciated, en pupils reactive no facial asymmetry moves all ext. plantars dawn

Results
                                                            Lab Results, CBC Diagram
10/20/16 04:15


                                               15.7


                                                            Lab Results, BMP Diagram
10/20/16 04:15


PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1020-0488
REPORT STATUS: Signed
              Case 2:18-cv-00924-PD                 Document 15-9       Filed 05/03/18      Page 41 of 89


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                         Mercy Fitzgerald Hospital
                                   Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: FD01250247




                                                  -~-1-3_4
                                                       __,.__9_9__~1~1_2__~~6
                                                  4.71 25           1.2    ~

                                                              PT/PTT/INR
10/20/16 04:15:
Prothrombin Time 16.3, Prothromb Time International Ratio 1.4
new c/s pending
Imaging
reviewed

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, echocardiogram= n o vegetations or valvular abnormality,
recommend TEE when logistically feasible
pneumonia: aspiration, complicated by right effusion, sip thoracentesis, and cavitary formation
right pleural effusion: sip thoracentesis fluid analysis pending
HIVD: moderately advanced, CD4 240-300
elevated temperature :recurrent, new els analysis pending
confusion: analysis active,
leukocytosis: follow resonse to intervention
abx mgmt:continue combination parental ceftriaxone and gentamicin
discussed clinical presentation with icu nursing staff

recommend TEE when logistically feasible


GILBERT.MARK, MD                                                                Oct 20, 2016 18:37

        <Electronically signed by MARK GILBERT, MD> 10/20/16 1837




GILBMA I MG I DD 10/20/161837 IDT 10/20/16 1837




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1020-0488
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD             Document 15-9           Filed 05/03/18       Page 42 of 89



                                                  Mercy Fitzgerald Hospital
                                                      Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                               ADM IT DATE: 10/07/16
REPORT#: 1021-0029                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/21/16 06:03
(IRIARTE OPORTO, BLANCA E MD)

Subjective
Hospital LOS days: 15
ICU LOS: 15
Subjective
Patient was seen and examined at bedside. Patient is calm , awake and alert. He mentioned a disorientation episode
overnight which made him feel agitated. At the moment of my examination he only reports back pain 7/10, diffuse, on
the rib cage. He also com plaints of pain on the thoracocentesis site. overnight patient heart rate went up to 150s and
he became very agitated, he wanted to leave and got up of bed , he received Lopressor and security was called.
Posteriorly the heart rate went down to 120s.
 (IRIARTE OPORTO, BLANCA E MD)

Review of Systems
Constitutional: : Fatigue: General WeaknessDenies: Dizziness
Head and Neck: Denies: Headache
Eyes: Denies: Blurred Vision
Ears, Nose, Mouth, Throat: Denies: Bleeding Gums
Cardiology: : PalpitationsDenies: Chest Pain
Respiratory: : Cough : Sputum Production
Gastrointestinal: Denies: Abdominal Distention, Abdominal Pain
Genitourinary: Denies: Change in Urine stream
Musculoskeletal: : Back Pain
Hematologic: Denies: Anemia
Psychiatric: : Anxiety : Depressed : Suicidal Ideation {IRIARTE OPORTO,BLANCA E MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                           Medications Active List
      Medications             Dose                      Sig/Sch     start Time          status    Last Adm in
                              Ordered                               stoo Time
      FolicAcid               1 mg                      DAILY       10/11/16 09:00                10/20/16 09:23




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0029
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247



      Thiamine HCI           100 mg               DAILY        10/11/16 09:00         10/20/16 09:23

      Enoxaparin Sodium      40 mg                DAILY        10/11/16 10:45         10/20/16 09:24

      Insulin Human         SS LOW DOSE LOW       Q6           10/12/16 07:45
      Regular               INTENSITY
                            SCALE: Bl. ..
      Dextrose              16 gm                 PRN PRN      10/12/16 11:45         10/12/16 12:41

      Dextrose/Water         12.5 gm              PRN PRN      10/12/16 11:45

      Doxazosin Mesylate     1 mg                 DAILY        10/13/16 09:00         10/20/16 09:23

      Docusate Sodium        100 mg               BID          10/14/16 11:30         10/20/16 09:23

      Risperidone 2 mg       2 mg                 BID          10/15/16 12:15         10/20/16 20:27

      Ceftriaxone Sodium     100 ml@              DAILY        10/17/16 09:00         10/20/16 09:24
                             100 mis/hr
      Haloperidol            5 mg                 Q6 PRN       10/17/1611 :15         10/21/16 04:22
      Lactate
      Guaifenesi n           200 mg               Q4H PRN      10/17/1611 :30         10/19/16 04:22

      Sodium Bicarbonate    3 meq                 Q6           10/18/1611 :00         10/20/16 20:58

      Albuterol/            3ml                   Q6           10/18/16 10:28         10/20/16 09:01
      loratrooium
      Clonazepam 1 mg        1 mg                 BID          10/19/16 10:45         10/20/16 20: 26

      Oexmedetomidine        208 ml@O             QOM PRN      10/20/16 10:45
      HCI 800 mcg/           mis/hr
      Sodium Chloride
      Gentamicin            53ml@                 08           10/20/16 10:49         10/21/16 04:58
      Sulfate/Sodium        100 mis/hr
      Chloride
      Polyethylene           17 gm                DAILY        10/20/16 11 :00        10/20/16 16:26
      Glycol 17 gm
      Metronidazole/        100 ml@               08           10/20/16 21 :00        10/21/16 04:57
      Sodium Chloride       200 mis/hr
      Acetaminophen         650 mg                Q4H PRN      10/20/16 19:30         10/20/16 19:58


(IRIARTE OPORTO,BLANCA E MD)
Active Meds Reviewed: Yes
(MANNS,STEPHENIE T MD)
Patient Data


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0029
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD             Document 15-9          Filed 05/03/18     Page 44 of 89

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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                           Vital Signs, Last Documented
        Date Time        Temo     Pulse   Re so B/P        Pulse Ox 02 Deliverv        02 Flow Rate    Fi02
       10/21/16 05:17              132            149/59
       10/21/16 05:00                       40                   95 Nasal Cannula               2.00
       10/21/16 04:00     38.0

Weight in Kg
93.00
                                                           Bedside Blood Glucose Last 24h
10/20/16 12:00: POC Glucose 93
10/20/16 17:06: POC Glucose 109
10/20/16 22:41: POC Glucose 120


                                                   10/20/16    10/20/16   10/21/16
                                                      15:00       23:00      07 :00
                                   Intake Total    461.5ml     2353 ml     700 ml
                                   Out ut Total     1250 m l    800 ml
                                   Balance        -788.5 ml    1553 ml     700 ml

Sedation Score Actual
0

(IRIARTE OPORTO, BLANCA E MD)

Physical Exam
Appearance: : Alert: Appears Stated Age : Cooperative: No Acute Distress
Head Exam: : Moist Mucous Membranes: Normocephalic: Symmetric
HEENT: : EOMI : Moist Mucous Membranes: Other (ORAL THRUSH) : PERRL : Sciera An icteric
Thorax: : Decreased Breath Sounds (BILA TE RALLY ) : other (Thoracocentesis site tender to palpation, dressing is
clean. )
Cardiovascular: : No JVD: Regular Rate Rhythm : Tachycardia
Abdomen: : Bowel Sounds Noted: Non-distended: Non-tender: Soft
Skin: : Skin Color Normal : Skin Temperature Normal : Skin Turgor Normal
Pulses: Distal Pulses 2+
Mental Status: Alert and Oriented x 3
Follows Commands: Yes
 (IRIARTE OPORTO,BLANCA E MD)

Results
Results
                                                          Lab Results, CBC Diagram
10/21/16 05:00




PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1021-0029
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD             Document 15-9          Filed 05/03/18       Page 45 of 89


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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                                           Lab Results, BMP Diagram
10/21/16 05:00




Diagnostics Reviewed: Yes
Imaging
Chest CT: Consolidation throughout bilateral lower lobes, small cavitary component in left lower lobe, large cavitary
component in superior segment of right lower lobe measuring up to 6.4 cm . Possible bronchopleural fistula is not
excluded. Small to mcx:lerate loculated right effusion with underlying hydropneumothorax from recently performed
thoracentesis.
 (IRIARTE OPORTO.BLANCA E MD)
Resp ex 10/19:
      Organism 1                       GRAM NEGATIVE ROD
          GROWTH                        MODERATE
Diagnostics Reviewed: Yes
Imaging
IMPRESSION:
1. Extensive consolidation throughout bilateral lower lobes most concerning for aspiration.
2. Small cavitary component in left lower lobe. Large cavitary component in superior segment of the right lower lobe
measuring up to 6.4 cm . Underlying bronchopleural fistula is not excluded. Recommend short-term follow-up with
chest CT.
3. Small to moderate loculated right effusion with underlying hydropneumothorax from recently performed
thoracentesis. The pleural effusion could be parapneumonic or could represent empyema. Correlate with the result of
recently performed thoracentesis.
 (MANNS,STEPHENIE T MD)

Quality
Discussed care Plan with: Patient
Code Status: Full Code
 (IRIARTE OPORTO,BLANCA E MD)
Lines Tubes and Catheter: PICC (LEFT UPPER EXTREMITY (10/11/2016)), Other (DUBHOFF TUBE)
Line Necessity Addressed: Yes
 (IRIARTE OPORTO, BLANCA E MD)
VTE Prophylaxis Ordered: Yes
 (IRIARTE OPORTO, BLANCA E MD)
Indwelling Foley catheter: No
 (IRIARTE OPORTO.BLANCA E MD)
Central Venous catheter: No
 (IRIARTE OPORTO,BLANCA E MD)
Non-Violent Restraints: Continued


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0029
REPORT STATUS: Signed
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                     Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247



(IRIARTE OPORTO,BLANCA E MD)

Impression and Plan
Assessment
Problem List:
(1) Severe sepsis
(2) Aspiration pneumonia
(3) Pleural effusion
(4) Alcohol withdrawal delirium
(5) LFTs abnormal
(6) Oral thrush
(7) Suicidal overdose
(8) Drug overdose
(9) Hyponatremia
(10) HIV (human immunodeficiency virus infection)
(11) Nicotine dependence
Chronic Problems: (IRIARTE OPORTO,BLANCA E MD)

Management Plan
Plan
NEU:

- Will continue Haldol PRN Q6 and Clonazepam.
- We will follow up with Psych evaluation in regards of 302 status.
- Pain control with Acetaminophen.
- We will add Hydromorphone to the pain regimen


0/:

- Overnight patient was tachycardic, possible secondary to sepsis vs. withdrawal symptoms vs.
anxiety vs. pulmonary infection?/pain s/p thoracocentesis.
- We will continue monitoring Vital Signs.

PULM:

- Tachypneic, saturating at 96% on 2 L via NC.
- Cavitary lesions showed in CT are impressive of anaerobes pneumonia most likely secondary to
aspiration. We will add Metronidazole.
- S/p thoracocentesis
- Continue with neb bronchodilators standing, frequent suction
- F/U with final results of sputum culture
- F/U with pleural fluid results.



PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0029
REPORT STATUS: Signed
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                     Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247



GI:

- No acute issues.
- Continue with Colace/Miralax for constipation.
- Duffhob Tube in place.
- LFTs trending down, possible secondary to acute liver damage secondary to Sepsis.

GU:

- Serum Cr is normal: 1.1 this AM.

ID:
- WBC trended up.
- Patient has 4/4 SIRS criteria +several lung infection foci with acute liver failure (Increased INR
and AST/ALT/Bilirubin)
- Blood cultures are negative to date we will follow up with final result
- f/u Sputum cultures for Pneumocystis and final urine culture
- Continue with ceftriaxone/gentamicin/metronidazole
- We added Metronidazole for anaerobic coverage.
- Echocardiogram showed NO vegetations or valvulopathy.
- ID recommended to draw an sterile blood culture
- Surgery evaluated the patient and recommended conservative management, we will follow up with
surgery interventions.
- We will add: Nystatin suspension if Speech clears him.
- CD4 count is: 245 ( Low)
- We will order a Gentamicin through on the 23rd

HEME/ONC:

- INR Is elevated, possible secondary to liver failure.
- Will continue DVT prophylaxis with Enoxaparin.

ENDO:
-No acute issues.
-Continue accuchecks and Regular insulin SS
-Keep sugars < 180 and >60


F/E/N:

- Patient sodium is 135. Improved from yesterday.
- We will continue with tube feeds.
- Will continue to monitor and replete electrolytes as needed.


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0029
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD            Document 15-9          Filed 05/03/18       Page 48 of 89


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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247




SOCIAL:
        Full code.
        NOK:     Sheree Bradham (484) 420-5809 Mother
                Ellis Bradham (610) 348-4661 Father
               Tosin Efunnuga 267-918-4065 Sister
(IRIARTE OPORTO, BLANCA E MD)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 40 (excluding procedures and teaching)
 (MANNS,STEPHENIE T MD)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff. and agree as
documented with the following comments:
 (IRIARTE OPORTO, BLANCA E MD)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Concern as he continues to a have severe sepsis with sinus tach/tachpynea overnight.
CT scan c/w extensive pleura disease, multiple cavitary lesions, likely abscess with air fluid level and possible
bronchopulmonary fistula.
Discussed with thoracic surg atg today and will evaluate images. given conservative management with broad abx of
ceftriaxone/gent (day 11) and flagyl (day2) for better anaroebic coverage.
ID following and recommending TEE.
HIV with low CD4 count, not on HAART.
new sputum ex from 10/19 showing continued GNR.
patient awake, alert and off precedex. will give prn dilaudid for likely extensive pleurisy.
SLP evaluation and following .
No foley, PICC in place, lovenox for vte ppx
TF nutrition.

D/w ICU RN and team .

(MANNS,STEPHENIE T MD)


IRIARTE OPORTO.BLANCA E MD                                                   Oct 21 , 2016 06:09
MANNS.STEPHENIE T MD                                                         Oct 21 , 2016 10:06

        <Electronically signed by BLANCA E IRIARTE OPORTO, MD> 10/21/16 1350
        <Electronically signed by STEPHENIE T MANNS, MD> 10/21/16 1019




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0029
REPORT STATUS: Signed
               Case 2:18-cv-00924-PD                 Document 15-9      Filed 05/03/18      Page 49 of 89

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                           Mercy Fitzgerald Hospital
                                      Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR# : F001250247




IRIABL I BIO I DD 10/21/16 0609 / DT 10/21/16 0609




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0029
REPORT STATUS: Signed
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                                                   Mercy Fitzgerald Hospital
                                                        Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247
ACCT: FA1307223089                                ADMIT DATE: 10/07/16
REPORT#: 1021-0191                                DOB : 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                   ***Signed Status***


Subjective
Encounter Date & Time
10/21/16 09:21
Subjective
pt seen, resting in bed, chart reviewed , case d/w ICU staff at length

Objective
Patient Data
                                            Vital Signs, Last Documented
        Date Time        Temo      Pulse   Reso B/P         Pulse Ox 02 Deliverv          02 Flow Rate   Fi02
       10/21/16 08:42               118      26
       10/21/16 07 :36                                               Nasal Cannula                4.00
       10/21/16 06:00                              142/68         96
       10/21/16 04:00      38.0

Weight in Kg
93.00
                                                             Bedside Blood Glucose
10/20/16 22:41: POC Glucose 120
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted

Results
                                                             Lab Results, CBC Diagram
10/21/16 05:00




                                                             Lab Results, BMP Diagram
10/21/16 05:00




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0191
REPORT STATUS: Signed
              Case 2:18-cv-00924-PD                 Document 15-9      Filed 05/03/18     Page 51 of 89


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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247




                                                        PT/PTT/INR
10/21/16 05:00:
Prothrombin Time 16.4, Prothromb Time International Ratio 1.4

Impression and Plan
Problem List:
(1) Aspiration pneumonia
Impression and Plan: CT noted, sip attempted drainage of loculations, need CT surg eval , flagyl added , continue
gentamicin and Rocephin
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: continue to monitor respiratory status
(3) AKI (acute kidney injury)
Impression and Plan: Resolved
(4) Toxic encephalopathy
Impression and Plan: continue with close clinical monitoring
Chronic Problems:


HAMID.SAMMY, MD                                                               Oct 21 , 2016 09:25

         <Electronically signed by SAMMY HAMID, MD> 10/22/16 0608




HAM ISA I SH I DD 10/21/16 0925 /OT 10/21/16 0925




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0191
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD            Document 15-9           Filed 05/03/18         Page 52 of 89



                                                Mercy Fitzgerald Hospital
                                                     General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1021-0213                              DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/21/16 10:04
Service: General Surgery
Subjective
Patient seen and examined. No acute events overnight.
Appetite: tube feeds
Sleep: Fairly Good

Objective
                                          Vital Signs, Last Documented
        Date Time       Temp     Pulse   Resp    B/P      Pulse Ox    02 Delivery          02 Flow Rate   Fi02
       10/21/16 09:00             115      35    151/66         98    Nasal Cannula
       10/21/16 08:00     37.9                                                                     2.00

Weight in Kg
93.00
                                                          Bedside Blood Glucose
10/20/16 22:41: POC Glucose 120
Physical Exam
General : no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes : sclera anicteric
Thorax : clear to auscultation bilaterally, equal expansion
Gard iovascular: no jugular venous distension, no murmurs, pulse regular rate and rhythm
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: alert/awake/oriented, grossly no abnormalities
                                                            Lab Results, CBC Diagram
10/21/16 05:00




                                                          Lab Results, BMP Diagram
10/21/16 05:00



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0213
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   General Surgery Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




Impression and Plan
Management Plan
Plan
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lov.ier lobe consolidation and an increasing right pleural effusion, leading to failed attempts at IR
drainage. Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right effusion. Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural
effusion.Failed IR thoracentesis due to loculated pleural effusion

Plan
Continue care per ICU
Continue IV antibiotics
Continue feeds as tolerated
Continue to monitor respiratory status
Wiii foiiow


RAO,SANDHYA R MD                                                                Oct 21 , 2016 10:07

        <Electronically signed by SANDHYA R RAO, MD> 10/21/16 1007
        <Electronically signed by HA.JI M SHARIFF, MD> 10/28/16 1143




RAOSAN I SR I DD 10/21/161007 / DT 10/21/16 1007




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0213
REPORT STATUS: Signed
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                                                Mercy Fitzgerald Hospital
                                                     Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT#: 1021-0396                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/21/16 16:21
Service: Infectious Disease
Subjective
Pt alert, oriented to time and person and place, no fever sore throat Tm 98-99, dyspnea persists no abdominal
discomfort

Objective
Patient Data
                                          Vital Signs, Last Documented
        Date Time                Pulse   Res     B/P      Pulse Ox 02 Delive            02 Flow Rate    Fi02
       10/21/1616:00              127      38 145/82            98 Nasal cannula                2.00

Weight in Kg
93.00
                                                          Bedside Blood Glucose
10/21/1611:38: POC Glucose 112

Physical Exam
Tm 98-00

anicteric ng intact no strider or meningismus decreased bs bases abd active bs nontender no guarding or pulsation
iv access intact sl rintact Neuro no tremor appreciated en intact ms 5/5 upper and lower plantars down

Results
                                                          Lab Results, CBC Diagram
10/21/16 05:00


                                             21.6


                                                          Lab Results, BMP Diagram
10/21/16 05:00




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0396
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR# : F001250247



                                                   _@fdmi1_3_5_+-_10_o_t_1_3-~
                                                   4.61 23         1.1 ~
                                                        PT/PTT/INR
10/21/16 05:00:
Prothrombin Time 16.4, Prothromb Time International Ratio 1.4
repeat blood els sterile
Imaging
reviewed

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, echocardiogram= n o vegetations or valvular abnormality,
recommend TEE when logistically feasible
pneumonia: aspiration , complicated by right effusion, and cavitary formation
right pleural effusion: sip thoracentesis yield less 2 ml fluid
HIVD: moderately advanced, CD4 240-300
elevated temperature :recurrent, presently resolved , new els sterile
confusion: resolving
leukocytosis: follow response to intervention
abx mgmt:continue combination parental ceftriaxone and gentamicin If serum creatinine rises above 1.5 mg/di
please discontinue gentamicin
discussed clinical presentation with pt and icu nursing staff

recommend TEE when logistically feasible


GILBERT, MARK, MD                                                              Oct 21 , 2016 16:25

         <Electronically signed by MARK GILBERT, MD> 10/21/16 1626




GILBMA I MG I DD 10/211161625 / DT 10/21/16 1625




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0396
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD           Document 15-9        Filed 05/03/18       Page 56 of 89



                                              Mercy Fitzgerald Hospital
                                                  Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                              MR#: F001250247
ACCT : FA1307223089                          ADMIT DATE: 10/07/16
REPORT#: 1022-0015                           DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                              ***Signed Status***


Subjective
Encounter Date & Time
10/22/16 05:18
(PATEL,SANSKRUTI MD)

Subjective
Hospital LOS days: 16
ICU LOS: 16
Subjective
Patient was seen and examined at bedside. Patient was lying in bed and reported uncombed and chest pain
in b/l lateral side of chest and sternal area. denied any difficulty in breathing.
Overnight patient tried to stand up and he was talking about god, flashes, chasing something. I talked with
patient and he calm down. He remain on and off confuse overnight.
Patient continue having 1:1 observation. His HR remain 130s - 150s and RR 40s overnight. He refuse
Dilaudid for pain.
 (PATEL,SANSKRUTI MD)

Review of Systems
Constitutional: : Fatigue: Fever: General Weakness
Head and Neck: Denies: Headache
Eyes: Denies: Blindness, Blurred Vision
Ears, Nose, Mouth, Throat: : Oral LesionDenies: Bleeding Gums, Earache, Epistaxis, Nasal Discharge
Neurological: Denies: Focal Weakness, Numbness, Paresthesia
Cardiology: : Chest Pain : Edema: Exertional DyspneaDenies: PVD, Palpitations, Syncope
Respiratory: : Breathing Worse: Orthopnea: Pleuritic Pain : SOBDenies: Cough , Hemoptysis, Sputum Production
Gastrointestinal: Denies: Abdomen Tender, Abdominal Distention , Abdominal Pain, Constipation, Diarrhea
Genitourinary: Denies: Dysuria, Urinary Frequency, Urinary Urgency
Musculoskeletal: Denies: lncisional Pain , Joint Pain
lntegumentary: : DrynessDenies: Pruritus, Rash
Endocrine: Denies: Flushing
Hematologic: : Anemia
Psychiatric: : Anxiety : Delusions (PATEL,SANSKRUTI MD)

Objective
Active Meds Reviewed: Yes
Medications



PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1022-0015
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247



                                                     Medications Active List
      Medications            Dose                 Sig/Sch     start Time         status   LastAdm in
                             Ordered                          stoo Time
      Folic Acid             1 mg                 DAILY        10/11/16 09:00             10/21/16 09:43

      Thiamine HCI           100 mg               DAILY        10/11/16 09:00             10/21/16 09:44

      Enoxaparin Sodium      40mg                 DAILY        10/11/16 10:45             10/21/16 09:43

      Insulin Human          SS LOW DOSE LOW      Q6           10/12/16 07 :45
      Regular                INTENSITY
                             SCALE: Bl. ..
      Dextrose               16 gm                PRN PRN      10/12/16 11 :45            10/12/16 12:41

      DextroseM/ater         12.5 gm              PRN PRN      10/12/16 11 :45

      Doxazosin Mesylate     1 mg                 DAILY        10/13/16 09:00             10/21/16 09:43

      Docusate Sodium        100 mg               BID          10/14/16 11 :30            10/21/16 09:43

      Risperidone 2 mg       2 mg                 BID          10/15/16 12:15             10/21/16 20:01

      Ceftriaxone Sodium     100 ml@              DAILY        10/17/16 09 :00            10/21/16 09:44
                             100 mlslhr
      Haloperidol            5mg                  06 PRN       10/17/16 11 :15            10/21/16 04:22
      Lactate
      Guaifenesin            200 mg               Q4H PRN      10/17/16 11 :30            10/19/16 04:22

      Albuterol/             3ml                  Q6           10/18/16 10:28             10/21/16 13:41
      loratropium
      Clonazepam 1 mg        1 mg                 BID          10/19/16 10:45             10/21/1621 :17

      Gentamicin             53ml@                08           10/20/1610:49              10/22/16 04:57
      Sulfate/Sodium         100 mlslhr
      Chloride
      Polyethylene           17 gm                DAILY        10/20/16 11 :00            10/21/16 09:43
      Glvcol 17 am
      Metronidazole/         100 ml@              08           10/20/16 21 :00            10/22/16 04:57
      Sodium Chloride        200 mlslhr
      Acetaminophen          650 mg               Q4H PRN      10/20/1619:30              10/21/16 20:01

      Nystatin               500 mu               QID          10/21/16 13:00             10/21/1621 :18

      Hydromorphone HCI      1 mg                 Q3H PRN      10/21/1610:15              10/22/16 00:31

      Hydromorphone HCI      2 mg                 Q3 PRN       10/21/16 10:15             10/21/16 22 :55



PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247




(PATEL.SANSKRUTI MD)

Patient Data
                                           Vital Signs, Last Documented
        Date Time        Temp     Pulse   Resp B/P         Pulse Ox 02 Delivery       02 Flow Rate    Fi02
       10/22/16 05:00              152      45 155/80            95 Nasal Cannula             2.00
       10/22/16 03:00     38.5

Weight in Kg
93.00
                                                         Bedside Blood Glucose Last 24h
10/21/1611:38: POC Glucose 112
10/21/16 16:27: POC Glucose 159


                                                                     10/22/16
                                                                        06:59
                                    Intake Total                     2223 ml
                                    Out ut Total                     2700 ml
                                    Balance                           -477 ml

                                     Intake Oral                       360ml
                                     IV Total                          153ml
                                                                      1260 ml
                                                                       450ml
                                                                      2700 ml
                                    # Bowel Movements                       1

Sedation Score Actual
1
(PATEL,SANSKRUTI MD)

Physical Exam
Appearance: : Alert: Appears Stated Age : Cooperative: Mild Distress
Head Exam: : Normocephalic
HEENT: : EOMI: Sciera An icteric
Thorax: : Accessory Muscle Use (tachypnea): other (shallow and rapid breathing) : strider: Wheezing
Cardiovascular: : No JVD: Tachycardia
Abdomen: : Non-distended : Non-tender: Soft
Skin: : Skin Color Normal : Skin Temperature Normal : Skin Turgor Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



Mental Status: Abnormal
CN II - XII: No: Fourth Nerve Palsy, Sixth Nerve Palsy, Third Nerve Palsy (PATEL,SANSKRUTI MD)

Results
Results
                                                          Lab Results, CBC Diagram
10/22/16 05:13




                                                          Lab Results, BMP Diagram
10/22/16 05:13


                                          ~13
                                            ~1.2
                                                          Arterial Blood Gas
10/7/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47 .1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31. 3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Galci um (Blood Gas) 1. 12
10/8/16 06:15: Allen Test Pas
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,
Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97.7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
Calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm, Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
Imaging
Chest X ray- Right lung consolidation, with right pleural effusion, Unable to see right costophrenic angle.
 (PATEL,SANSKRUTI MD)

Quality
Discussed Care Plan with: Patient
Code Status: Full Code
(PATEL,SANSKRUTI MD)
Lines Tubes and Catheter: PICC (left UE, 10/11/16), Other (Dubhoff (10/19/16))
Line Necessity Addressed: Yes
(PATEL,SANSKRUTI MD)


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1022-0015
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                              Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247



VTE Prophylaxis Ordered: Yes
 (PATEL,SANSKRUTI MD)
Indwelling Foley catheter: No
 (PATEL,SANSKRUTI MD)
Central Venous catheter: No
 (PATEL,SANSKRUTI MD)
1 :1 Sitter: Continued
Non-Violent Restraints: Continued
 (PATEL,SANSKRUTI MD)

Impression and Plan
Problem List:
(1) Severe sepsis
(2) Aspiration pneumonia
(3) Oral thrush
(4) Pleural effusion
Chronic Problems:
(1) Nicotine dependence
(2) Suicide and self-inflicted poisoning by drugs and medicinal substances
(3) HIV (human immunodeficiency virus infection)
(4) On mechanically assisted ventilation
(5) Alcohol withdrawal
(6) Polysubstance abuse
(7) Antisocial personality disorder in adult (PATEL,SANSKRUTI MD)
Problem List:
(1) Aspiration pneumonia
(2) Empyema
(3) Suicidal overdose
(4) Polysubstance abuse
(5) Delirium, acute
(6) HIV (human immunodeficiency virus infection)
(7) Antisocial personality disorder in adult
(8) Anxiety
Chronic Problems: (VALENTINO,DOMINIC J, DO)
Plan
Plan

NEU:
        Will continue Haldol to address confusion and suspected delirium . will also continue Clonazepam
and risperidone. We will follow up with Psych evaluation in regards of 302 status. Pain control with
Acetaminophen and hydromorphone.

CV:


PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1022-0015
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



      persistent sinus tachycardia, mostly secondary to pain, or sepsis, or anxiety or withdrawal, or may
be combination of it. We will continue monitoring Vital Signs and telemetry.

PULM:

       Persistent tachycardia, no difficulty in breathing. Pulse 02 around 99- 98 on 2 L nasal cannula. CT
chest are impressive of a small to moderate loculated right effusion with suspected bronchopleural fistula
and aspiration pneumonia. s/p thoracocentesis extracted 2 ml fluid. Thoracic surgery is being consulted for
evaluation and possible intervention for the patient's right loculated pleural effusion. Surgery schedule on
Monday.
       will continue AMA- Gentamicin, ceftriaxone and metro for anaerobes.
       will continue with neb bronchodilators standing, frequent suction
       F/U with final results of sputum culture (few GNR)and Pleural fluid result.

GI:

       No acute issues. Will continue Nystatin swiss and swallow for oral candidiasis. Will continue with
Colace/Mira lax for constipation. Duffhob Tube in place, continue feeding from Dub Hoff tube.
       LFTs trending down, elevated LFT secondary to sepsis.



GU:

        Serum Cr is 1.2. Will d/c gentamicin if Creatinine rises above 1.5 mg/di.

ID:

        SIRS criteria, 4/4 ( HR-150, RR- 40, Temp >38, WBC 20,000} with source of infection lung. Blood
culture negative till today. Recent respiratory culture positive for GNR, pending final result. Final urine
culture is negative.
        Will Continue with ceftriaxone(12), gentamicin(3),metronidazole(3)
        Echocardiogram showed NO vegetations or valvulopathy, recommended TEE.
        Hx of HIV infection- CD4 count is: 245 (Low)

HEME/ONC:

        INR is elevated, possible secondary to liver failure secondary to sepsis.

PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1022-0015
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD            Document 15-9          Filed 05/03/18       Page 62 of 89

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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



         Will continue DVT prophylaxis with Enoxaparin.

ENDO:


         Continue accu checks and Regular insulin SS
         Keep sugars 140 - 180



F/E/N:

         Will continue to monitor and replete electrolytes as needed.
         Continue Tube feed. SLP eval- recommended start diet if no contraindication.

SOCIAL:

         Full code.
         NOK: Sheree Bradham (484) 420-5809 Mother
                 Ellis Bradham (610) 348-4661 Father
                 Tosin Efunnuga 267-918-4065 Sister
 (PATEL,SANSKRUTI MD)
Condition: Fair
 (PATEL,SANSKRUTI MD)
Condition: Critical
Critical Care Time (mins): 35 (excludes teaching and procedures)
 (VALENTINO,DOMINIC J, DO)
Attestation Statement
I have seen and evaluated the patient. reviewed and discussed the plan of care with house staff. and agree as
documented with the following comments:
 (PATEL,SANSKRUTI MD)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Patient remains more coherent this AM and overnight.
Will check EKG to look at QT segment because of use of anti psychotics.
PO diet tolerated.
Pain control better with dilaudid dosing.
For decortication in OR on Monday.
Has sputum culture results with enterobacter and strep species. We will change abx to cefepime based on this and
continue flagyl.
Needs intraoperative cultures.
Plans reviewed with iCU nurse and residents.


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1022-0015
REPORT STATUS: Signed
               Case 2:18-cv-00924-PD                 Document 15-9     Filed 05/03/18    Page 63 of 89

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                         Mercy Fitzgerald Hospital
                                    Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



(VALENTINO,DOMINIC J, DO)


PATEL,SANSKRUTI MD                                                           Oct 22, 2016 05:24
VALENTINO, DOMINIC J, 00                                                     Oct 22, 2016 12:17

         <Electronically signed by SANSKRUTI PATEL, MD> 10/23/16 2129
         <Electronically signed by DOMINIC J VALENTINO, DO> 10/22/16 1225




PATESA01 /SP I DD 10/22/16 0524 / DT 10/22/16 0524




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1022-0015
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                      General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA 1307223089                             ADMIT DATE : 10/07/16
REPORT # : 1022-0116                            DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/22/16 10:28
Service: Cardiothoracic Surgery
Subjective
Patient was seen and examined. No acute events overnight. Patient tachycardic, but normotensive, not requiring
pressers. Patient tachypneic but saturating high 90s on 2 L nasal cannula. Patient reports pain controlled. Receiving
tube feeds through Dobbhoff. Producing urine.

Objective
Patient Data

                                           Vital Signs, Last Documented
        Date Time                Pulse    Res     B/P      Pulse Ox 02 Delive            02 Flow Rate     Fi02
       10/22/1610:00              120       32 134/73            97 Nasal Cannula                2.00

Weight in Kg
93.00
                                                           Bedside Blood Glucose
10/21/16 16:27: POC Glucose 159
Appearance: : Alert: Appears stated Age : Mild Distress
Head Exam: : Atraumatic: Normocephalic: Symmetric
Eyes: : EOMI : Sciera Anicteric
Ears Nose Throat: No: Muffled Hoarse Voice
Thorax: : Decreased Breath Sounds
Cardiovascular: : Tachycardia
Abdomen: : Non-tender: SoftNo: Distended
Extremity Appearance: LUE: Normal , RUE: Normal , LLE: Normal, RLE: Normal
Skin: : Skin Color Normal : Skin Temperature Normal
Neurologic: : Oriented x 3
Affect: : Normal

Results
                                                           Lab Results, CBC Diagram
10/22/16 05:13




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1022-0116
REPORT STATUS: Signed
              Case 2:18-cv-00924-PD             Document 15-9          Filed 05/03/18       Page 65 of 89


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                        Mercy Fitzgerald Hospital
                                 General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                                           Lab Results, BMP Diagram
10/22/16 05:13


                                           ~13
                                             4:825 1.2

Quality
Code Status: Full Code
Lines Tubes and Catheter: Other (Dobbhoff)
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley catheter: No
Central Venous catheter: No

Impression and Plan
Assessment
Problem List:
(1) Loculated pleural effusion
Chronic Problems:

Management Plan
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lower lobe consolidation and an increasing right pleural effusion. leading to failed attempts at IR
drainage. Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right effusion. Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural
effusion.Failed IR thoracentesis due to loculated pleural effusion

Continue care per ICU
Continue IV antibiotics
Continue feeds as tolerated
Continue to monitor respiratory status
Tentative OR 10/24/2016 for VATS and decortication
DVT prophylaxis


MARCOE,JEFFREY P MD                                                            Oct 22, 2016 10:32

        <Electronically signed by JEFFREY P MARCOE, MD> 10/22/16 1032
        <Electronically signed by HA.JI M SHARIFF, MD> 10/28/16 1143




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1022-0116
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247




MARCJE I JM I DD 10/22/161032 / DT 10/221161032




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1022-0116
REPORT STATUS: Signed
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                                                Mercy Fitzgerald Hospital
                                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT : FA1307223089                             ADMIT DATE: 10/07/16
REPORT#: 1023-0038                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                *** Signed Status ***

Subjective
Encounter Date & Time
10/23/16 07 :46
(MANN,RUPINDER K MD)

Subjective
Hospital LOS days: 17
ICU LOS: 17
Subjective
Patient seen and examined. Patient spiked fever- 101 .3 F overnight. He was also persistently tachycardiac and
tachypneic. As per nurse, he vvas confused also overnight. Received 1L of NSS and pain meds.
This morning, He is AAOX3. Clo of pain in chest- more on Left than right, more when he take breaths.
 (MANN,RUPINDER K MD)

Review of Systems
Head and Neck: Denies: Headache
Eyes: Denies: Blurred Vision
Ears, Nose, Mouth, Throat: Denies: Nasal Congestion, Nasal Discharge
Neurological: Denies: Focal Weakness, Numbness, Paresthesia
Cardiology: : Chest Pain (Bii chest pain- more on breathing)
Respiratory: : Pleuritic Pain
Gastrointestinal: Denies: Abdominal Pain , Nausea, Vomiting
Musculoskeletal: : Back Pain (MANN,RUPINDER K MD)

Objective
Medications

                                                          Medications Active List
      Medications             Dose                     Sig/Sch     Start Time          Status   LastAdmin
                              Ordered                              stooTime
      FolicAcid               1 mg                     DAILY        10/11/16 09:00              10122/1608:13

      Thiamine HCI            100 mg                   DAILY         10/11/16 09:00             10/22/1608:10

      Enoxaparin Sodium       40mg                     DAILY         10/11/1610:45              10/22/16 08: 14

      Insulin Human           SS LOW DOSE LOW          Q6            10/12/16 07 :45            10/22/16 18:50
      Regular                 INTENSITY
                              SCALE: Bl. ..


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1023-0038
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                                MR#: F001250247



      Dextrose                    16 gm                      PRN PRN         10/12/16 11 :45          10/12/1612:41

      Dextrose!vVater             12.5 gm                    PRN PRN         10/12/16 11 :45

      Docusate Sodium             100 mg                     BID             10/14/1611 :30           10/22/1608:11

      Risperidone             2 mg                           BID             10/15/16 12:15           10/22/16 20:15

      Haloperidol             5mg                            Q6 PRN          10/17/16 11 :15          10/21/16 04:22
      Lactate
      Clonazepam 1 mg             1 mg                       BID             10/19/16 10:45           10/22/16 20:17

      Gentamicin              53ml@                          Q8              10/20/16 10:49           10/23/16 05:28
      Sulfate/Sodium          100 mis/hr
      Chloride
      Polyethylene                17 gm                      DAILY           10/20/16 11 :00          10/22/16 08:12
      Glvcol 17 am
      Metronidazole/          100 ml@                        Q8              10/20/16 21 :00          10/23/16 05: 13
      Sodium Chloride         200 mis/hr
      Acetaminophen           650 mg                         Q4H PRN         10/20/16 19:30           10/23/16 02 :35

      Nystatin                500 mu                         QID             10/21/16 13:00           10/22/16 18:49

      Hydromorphone HCI       1 mg                           Q3H PRN         10/21/16 10:15           10/22/16 08:06

      Hydromorphone HCI       2 mg                           Q3 PRN          10/21/16 10:15           10/23/16 06: 12
      2 mg
      Cefepime HCI            50ml@                          Q6              10/22/16 17:00           10/23/16 05:00
                              100 mis/hr

(MANN,RUPINDER K MD)

Patient Data
                                                      Vital Signs 24 Hours
        Date Time         Temp      Pulse      Resp     B/P      Pulse Ox     02 Deliverv      02 Flow Rate   Fi02
       10/23/16 07 :00               114         34     109/68        100     Room Air
       10/23/16 06:00                119         36     133176        100     Room Air
       10/23/16 05:00                120         37     121175        100     Room Air
       10/23/16 04:00                                                         Room Air
       10/23/16 04:00      37.7          127     35    113/56         100     Room Air
       10/23/16 03:00                    140     46    130173         100     Room Air
       10/23/16 02:37      38.5          137     42                   100     Room Air
       10/23/16 02 :00                   124     41    132/69         100     Room Air
       10/23/16 01 :00                   117     29    115/67         100     Room Air
       10/23/16 00:30                    117     30                   100     Room Air
       10/23/16 00:06                                                         Nasal Cannula            2.00


PATIENT: EFUNNUGA,OLUTOKUNBO
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                         Mercy Fitzgerald Hospital
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PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



       10/23/16 00:00               125      40     121/69        100     Nasal Cannula         2.00
       10/22/16 23:00      37.2     106      29     101/67        100     Nasal Cannula         2.00
       10/22/16 22:00               110      32     111/60        100     Nasal Cannula         2.00
       10/22/16 21 :00              118      33     109/60        100     Nasal Cannula         2.00
       10/22/16 20:00      38.1     128      38     126/70         99     Nasal Cannula         2.00
       10/22/16 20:00                                                     Nasal Cannula         2.00
       10/22/1619:00                132      41     132/66        100     Nasal Cannula         2.00
       10/22/1618:00       38.6     127      38     114/80           98   Nasal Cannula         2.00
       10/22/16 17:00               125      38     133/76         97     Nasal Cannula         2.00
       10/22/1616:00                124      39     139/86        100     Nasal Cannula         2.00
       10/22/1616:00                                                      Nasal Cannula         2.00
       10/22/1615:00                122      41     125/62           98   Nasal Cannula         2.00
       10/22/1614:00                121      39     131/74           98   Nasal Cannula         2.00
       10/22/16 13:00               125      42     142/74           99   Nasal Cannula         2.00
       10/22/16 12:00                                                     Nasal Cannula         2.00
       10/22/16 12:00      38.0     124      39     139/80           96   Nasal Cannula         2.00
       10/22/16 11 :00              125      37     127/59           97   Nasal Cannula         2.00
       10/22/16 10:00      37.3     120      32     134/73           97   Nasal Cannula         200
       10/22/16 09:00               126      38     128/70           97   Nasal Cannula         2.00
       10/22/16 08:02                                                     Nasal Cannula         4.00
       10/22/16 08:00                                                     Nasal Cannula         2.00
       10/22/16 08:00      38.6     131      34     114/63           96   Nasal Cannula         2.00

Weight in Kg
93.00
                                                             Bedside Blood Glucose Last 24h
10/22/16 10:57: POC Glucose 125
10/22116 17:54: POC Glucose 244
10/22/16 22:09: POC Glucose 111
10/23/16 04:57: POC Glucose 119


                                                                           10/23/16
                                                                              07 :00
                                     Intake Total                          4576 ml
                                     Out ut Total                          1950 ml
                                     Balance                               2626 ml

                                                                             540 ml
                                                                            2756 ml
                                                                             780 ml
                                                                             500 ml
                                                                            1950 ml
                                                                                  1

l&O Comment



PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                                 10/22/16   10/22/16     10/23/16
                                                    15:00      23:00        07:00
                                 Intake Total     1860 ml     833ml       1883 ml
                                 Out ut Total     1000 ml    300ml         650ml
                                 Balance           860 ml    533ml        1233 ml

Sedation Score Actual
0
CAM -ICU
Negative
(MANN,RUPINDER K MD)

Physical Exam
Appearance: : Alert: No Acute Distress
Head Exam: : Moist Mucous Membranes
HEENT: : EOMI : Sciera Anicteric
Thorax: : Decreased Breath Sounds: Other (Tachypenic)No: Wheezing
Cardiovascular: : TachycardiaNo: Murmur
Abdomen: : Bowel Sounds Noted: Non-distended : Non-tender
Skin: : Skin Color Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Alert and Oriented x 3
Follows Commands: Yes
(MANN,RUPINDER K MD)

Results
Results
                                                        Lab Results, CBC Diagram
10/23/16 05:00




                                                        Lab Results, BMP Diagram
10/23/16 05:00




                                                        Arterial Blood Gas
1017/1617:00:

PATIENT: EFUNNUGA,OLUTOKUNBO
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                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR# : F001250247



Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47 .1, Venous
Blood pC02 (Temp Corrected) 47. 1, Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91.1 , Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Galcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,
Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97.7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
Calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm , Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
 (MANN,RUPINDER K MD)
Diagnostics Reviewed: Yes
 (VALENTINO,DOMINIC J, DO)

Quality
Code Status: Full Code
 (MANN,RUPINDER K MD)
Lines Tubes and Catheter: PICC (LUE- 10/11/16), Other (Doubhoff- 10/19/16)
 (MANN,RUPINDER K MD)
VTE Prophylaxis Ordered: Yes (Lovenox 40 mg sic Daily)
 (MANN,RUPINDER K MD)
Indwelling Foley Catheter: No
 (MANN,RUPINDER K MD)
1 :1 Sitter: Continued
 (MANN,RUPINDER K MD)

Impression and Plan
Assessment
Problem List:
(1) Aspiration pneumonia
(2) Empyema
(3) Suicidal overdose
(4) Polysubstance abuse
(5) Delirium, acute
(6) HIV (human immunodeficiency virus infection)
(7) Antisocial personality disorder in adult
(8) Anxiety
Chronic Problems: (MANN,RUPINDER K MD)
Problem List:
(1) Aspiration pneumonia
(2) Empyema
(3) Delirium, acute
(4) Suicidal overdose


PATIENT: EFUN NUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



(5) Polysubstance abuse
(6) HIV (human immunodeficiency virus infection)
(7) Antisocial personality disorder in adult
(8) Anxiety
Chronic Problems: (VALENTINO.DOMINIC J, DO)
Management Plan
Plan
Neuro- Acute Delirium due to pain and sepsis. Continue risperidone, Haldol prn . Pain control with Dilaudid prn with
pain scale
         F/u psych eval patient came with intentional overdose- suicide attempt. 302ed

CVS: Persistently sinus tachycardia- most likely due to pain, sepsis. Will continue adequate pain control
     B.P. fairly controlled

Pulm- Aspiration pneumonia and Right sided Empyema on CT scan. Thoracenteses yield only 2 ml fluid due to
loculation
        Going to OR on Monday for decortication
        Continue medical management with gentamicin, cefepime and metronidazole
        F/u pleural fluid result- Pleural fluid Ph

GI :   Continue Nystatin swish and swallow for oral candidiasis.
       Continue dysphagia 2 diet and nocturnal tube feed
       Elevated LFT due to liver injury secondary to sepsis. Trending down


GU : No active issue. Will continue to monitor serum creatinine especially as patient is on gentamycin


ID: Aspiration pneumonia and Empyema of Right lung.
    Resp culture (10/19/16)-Enterobacter aerogenes and streptococcus group C
    Repeat resp culture(1021/16)- Normal flora and rare org till now
    Continue Cefepime, Metronidazole and gentamicin
    Echocardiogram showed NO vegetations or valvulopathy, recommended TEE.
    Hx of HIV infection- CD4 count is: 245 ( Low). Will start HAART therapy once acute illness resolves

Hem/One: INR is elevated- most likely due to liver injury 2/2 to sepsis.
         DVT prophylaxis with Enoxaparin 40 mg sic Daily.

Endo: No active issues

F/E/N : Monitor electrolyte and replete as needed
        Continue dysphagia 2 diet with nocturnal tube feed .

Social : Full code.
         NOK: Sheree Bradham (484) 420-5809 Mother
                  Ellis Bradham (610) 348-4661 Father
                  Tosin Efunnuga 267-918-4065 Sister


PATIENT: EFUNNUGA,OLUTOKUNBO
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                          Mercy Fitzgerald Hospital
                                    Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



(MANN,RUPINDER K MD)

Additional Information
Condition: Critical
Critical Care Time (mins): 35 (excludes teaching and procedures)
 (VALENTINO,DOMINIC J, DO)
Attestation Statement
I have seen and evaluated the patient. reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Patient remains alert and more coherent this AM . still on 1:1 as 302 status ongoing.
Needs VA Ts tomorrow. I advised surgery to speak with his mother since he is 302 status. He is willing to have, but
she should be informed as NOK.
I spoke with Dr. Asnani from ID in the iCU and she wants to keep the gentamycin on for possible endocarditis. We
are asking for a cardiology consult to get a TEE, preferably when he is intubated for his VATS procedure.
We will maintain PO diet until midnight.
Continue on pain regimen with dilaudid, but lower doses. He is not needing regularly but will certainly need more post
op tomorrow.
Increase bowel regimen as no BMs in 24hr.

Plans reviewed on rounds with ICU nurse and residents.
(VALENTINO.DOMINIC J, DO)


MANN,RUPINDER K MD                                                             Oct 23, 2016 07 :52
VALENTINO, DOMINIC J, DO                                                       Oct 23, 2016 11 :14

         <Electronlcally signed by RUPINDER K MANN, MD> 10/26/16 0556
         <Electronically signed by DOMINIC J VALENTINO, DO> 10/23/16 1121




MANN RU I RM I DD 10/23/16 0752 /OT 10/23/16 0752




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1023-0038
REPORT STATUS: Signed
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                                                    Mercy Fitzgerald Hospital
                                                        Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                     MR#: F001250247
ACCT: FA1307223089                                  ADMIT DATE: 10/07/16
REPORT#: 1023-0041                                  DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                    *** Signed Status ***


Subjective
Encounter Date & Time
10/23/16 07 :57
Subjective
Patient seen, resting , chart reviewed, febrile overnight

Objective
Patient Data
                                             Vital Signs, Last Documented
          Date Time        Temp     Pulse    Resp     B/P       Pulse Ox    02 Deliverv   02 Flow Rate   Fi02
         10/23/16 07:00              114       34     109/68         100    Room Air
         10/23/16 04:00      37.7
         10/23/16 00:06                                                                           2.00

Weight in Kg
93.00
                                                               Bedside Blood Glucose
10/23/16 04:57: POC Glucose 119
Thorax: : Decreased Breath Sounds
Cardiovascular: : Tachycardia
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted

Results
                                                               Lab Results, CBC Diagram
10/23/16 05:00




                                                               Lab Results, BMP Diagram
10/23/16 05:00


                                                   ......._9_9_ _.,t_1_4_~
                                             _@D.,1_3_5
                                             4:51 26                1.0    ~


PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1023-0041
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247




Impression and Plan
Problem List:
(1) ER1>yema
Impression and Plan: Continue with cefepime and gentamicin, appreciate infectious disease and surgery input,
planning for operative treatment tomorrow
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: continue to provide oxygen and monitor pulse oximetry closely
(3) AKI (acute kidney injury)
Impression and Plan: Resolved, close monitoring of serum creatinine while on gentamicin
(4) Toxic encephalopathy
Chronic Problems:


HAMID,SAMMY, MD                                                             Oct 23, 2016 07 :59

         <Electronically signed by SAMMY HAMID, MD> 10/24/16 0555




HAM ISA I SH I DD 10/23/16 0759 IDT 10/23116 0759




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1023-0041
REPORT STATUS: Signed
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                                               Mercy Fitzgerald Hospital
                                                   Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                               MR#: F001 250247
ACCT : FA1307223089                           ADMIT DATE: 10/07/16
REPORT #: 1023-0084                           DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN , MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                              ***Signed Status ***


Subjective
Encounter Date & Time
10/23/16 11 :08
Service: Infectious Disease
Covering for: GILBERT, MARK, MD
Subjective
Case discussed with ICU team , patient for VATS tomorrow
Roceph in was changed to cefepime based upon the sputum culture with Enterobacter and strep
On gentam icin
Renal function stable
Ongoing fevers
Blood Cultures done 3 days ago negative so far

Objective
Active Meds Reviewed: Yes
Patient Data
                                         Vital Signs, Last Documented
        Date Time       Temo    Pulse   Reso B/P         Pulse Ox 02 Deliverv       02 Flow Rate   Fi02
       10/23/1610:00             121      30 116/63            98 Nasal Cannula             2.00
       10/23/16 08:00    38.0

Weight in Kg
93.00
                                                        Bedside Blood Glucose
10/23/16 04:57: POC Glucose 119
Appearance: : No Acute Distress
Head Exam: : Symmetric
Eyes: : Sciera Anicteric
Thorax: : Crackles
Abdomen: : Distended: Soft

Results
                                                        Lab Results, CBC Diagram
10/23/16 05:00




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1023-0084
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247




                                                                Lab Results, BMP Diagram
10/23/16 05:00




Diagnostics Reviewed: Yes

Impression and Plan
Plan
Impression and plan

1. HIV
         o Antiretrovirals once clinical condition allows


2. Pneumonia, cefepime and Flagyl


3. strep bacteremia, MIC to penicillin on the higher side so on the beta lactams as well as synergistic gentamicin,
gentamicin levels ordered
TEE
Discussed with ICU team

4. Leukocytosis, suspect multifactorial, pneumonia, loculated effusion for VATS tomorrow


ASNAN I,BHARTI , MD                                                             Oct 23, 2016 11 :14

          <Electronically signed by BHARTI ASNANI, MD> 10/23/16 1114




ASNABH I BA/ DD 10/23/161114/DT 10/23/161114




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1023-0084
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                     General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA 1307223089                             ADMIT DATE: 10/07/16
REPORT #: 1023-0260                             DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING: LITTMAN , MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/23/16 17:05
Service: Gardiothoracic Surgery
Subjective
No acute issues. Continues to be febrile, tachycardic, and tachypneic.

Objective

                                           Vital Signs, Last Documented
        Date Time       Temp     Pulse    Resp B/P         Pulse Ox 02 Deliverv           02 Flow Rate    Fi02
       10/23/1616:00                                                Nasal Cannula                 2.00
       10/23/1616:00               115       37 120/67           99
       10/23/16 15:00     38.1

Weight in Kg
93.00
                                                           Bedside Blood Glucose
10/23/16 16:55: POC Glucose 111
Physical Exam
General: no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes : sclera anicteric
Thorax: appears to be short of breath as he is tachypneic and whispering. RR in 30s and 02 saturation at this time is
95% on 2 L nasal cannula. Lungs with good air movement and equal expansion bilaterally, but diminished breath
sounds at bi lateral bases.
Cardiovascular: no jugular venous distension, no murmurs, tachycardic
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Neurologic: alert/awake/oriented, grossly no abnormalities
                                                           Lab Results, CBC Diagram
10/23/16 05:00




                                                           Lab Results, BMP Diagram
10/23/16 05:00



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1023-0260
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                                 MR#: F001250247



                                                    _@D_1_3_5_...,.._g_g_....._1_4__~
                                                    4:51 26            1.0     ~


Impression and Plan
Assessment
Problem List:
(1) Loculated pleural effusion
(2) HIV (human immunodeficiency virus infection)
(3) Suicide and self-inflicted poisoning by drugs and medicinal substances
(4) Drug overdose
(5) Anxiety
(6) Polysubstance abuse
Chronic Problems:

Management Plan
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lower lobe consolidation and an increasing right pleural effusion, leading to failed attempts at IR
drainage Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right effusion. Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural effusion.

-Continue close monitoring
-Continue IV abx
-Continue care per ICU team
-To OR tomorrow for R VATS and decortication
-Lovenox for DVT ppx


SALi M,ANDREW N MD                                                                 Oct 23, 2016 5:09 pm

         <Electronically signed by ANDREW N SALIM, MD> 10/23/16 1709
         <Electronically signed by HA.JIM SHARIFF, MD> 10/28/16 1143




SALIAN I ANS I DD 10/23/161709 / DT 10/23/16 1709




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1023-0260
REPORT STATUS: Signed
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                                                          Mercy Fitzgerald Hospital
                                                             Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247
ACCT : FA 1307223089                                     ADMIT DATE: 10/07/16
REPORT # : 1024-0023                                     DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                         ***Signed Status***


                            *** Addendum*** *** Addendum *** *** Addendum***
10/24/16
Addendum : VALENTINO, DOMINIC J, DO on 10/24/16@ 15:54

Resident had signed note before assigning to me for editing and so my comments are included as this addendum . I
have seen and evaluated the patient today and personally examined him . I also have revie..ved the resident's note in
detail and I agree with what she is written below except as noted :

The patient is going to the OR today for a right-sided VATS. Postoperative I would expect him to come back
intubated and we will work on extubating him quickly. I spoke with cardiology personally and arranged for him to have
a TEE before his surgical procedure when he is in the PACU and intubated. Surgery was also aware of this. The
cardiologist also personally spoke to the surgery team about this.

Once extubated again, will reassess need for pain control. Also if the results of the TEE are negative, we will try to
get his antibiotics reconfigured to stop sooner as long as no evidence of positive blood cultures are coming up.
In speaking with infectious disease yesterday, his CD4 count is above 200. He should not be at risk of many
opportunistic infections given this.
We will also follow up with cultures obtained from the VATS today as we may need to tweak antibiotics based on this.

Patient was eating prior to being nothing by mouth for the OR and we'll try to get him back on oral diet after
extubation.

He is still 302 status and is still on one-to-one observation. Once he is medically cleared , we will have to get security
and/or case management to contact the police authorities as the patient apparently has a warrant outstanding that
they wish to serve him on.

Plans discussed in detail with ICU nurse and residents on rounds.

Critical care time, excluding teaching and procedures, equals 35 minutes.


                                                                   <Electronically signed by DOMINIC J VALENTINO Ill
DO>



VA LEDO I DJV I DD 10/24/16, 1557 IDT 1CV24/16, 1557


                                                       *** Original Report***


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1024-0023
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR# : F001250247



Subjective
Encounter Date & Time
10/24/16 06:12
Subjective
Hospital LOS days: 18
ICU LOS: 18
Subjective
Patient seen and examined at bedside , he complaints of LLQ pain that radiates to the left flank, but he mentions is
better than yesterday. He is coughing less frequently, but continues prcx:lucing a yellowish-greenish sputum . No
agitation/disorientation episodes overnight. overnight: He spiked a fever around 2 a. m. which subsided after Tylenol.
He is peeing using the urinal and per nurse: He looks better and he is been more cooperative.

Review of Systems
Constitutional: : Appetite Loss: Fatigue: Fever
Head and Neck: Denies: Headache
Eyes: Denies: Blurred Vision
Neurological: Denies: Headache
Cardiology: Denies: Chest Pain, Palpitations
Respiratory: : Cough : Sputum Production
Gastrointestinal: : Abdominal PainDenies: Abdomen Tender
Genitourinary: Denies: Change in Urine Stream
lntegumentary: Denies: Dryness
Psychiatric: : Depressed

Objective
Active Meds Reviewed: Yes
Medications

                                                           Medications Active List
      Medications             Dose                      Sig/Sch     start Time          Status    LastAdm in
                              Ordered                               stooTime
      Folic Acid              1 mg                      DAILY        10/11/16 09:00               10/23/1608:11

      Thiamine HCI            100 mg                    DAILY         10/11/16 09:00              10/23/16 08: 11

      Enoxaparin Sodium       40mg                      DAILY         10/11/16 10:45              10/23/16 09:48

      Insulin Human           SS LOW DOSE LOW           06            10/12/16 07 :45             10/22/1618:50
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16 gm                     PRN PRN       10/12/16 11 :45             10/12/16 12:41

      DextroseNv'ater         12.5 gm                   PRN PRN       10/12/16 11 :45

      Risperidone             2 mg                      BID           10/15/16 12:15              10/23/16 20:41



PATIENT: EFUNNUGA,OLUTOKUNBO
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                         Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



      Haloperidol             5mg                      Q6 PRN        1D/17/16 11 :15           10/21/16 04:22
      Lactate
      Clonazepam 1 mg         1 mg                     BID           1D/19/1610:45             10/23/16 20:41

      Gentamicin              53ml@                    QB            1D/20/16 10:49            10/24/16 05:35
      Su !fate/Sodium         100 mis/hr
      Chloride
      Polyethylene            17 gm                    DAILY         1D/20/16 11 :OD           10/23/16OB:11
      Glvcol 17 qm
      Metron idazole/         100 ml@                  QB            1D/20/16 21 :OD           10/24/16 05:07
      Sodium Chloride         200 mis/hr
      Acetaminophen           650 mg                   Q4H PRN       10/20/16 19:30            10/24/16 02 :21

      Nystati n 500 mu        500 mu                   QID           10/21/16 13:0D            10/23/16 20:41

      Cefepime HCI            50ml@                    Q6            1D/22/1617:0D             10/24/16 05:07
                              100 mis/hr
      Hydromorphone HCI       1 mg                     Q3H PRN       1D/23/16 10:45            10124/16 05:41

      Hydromorphone HCI       0.5 mg                   Q3H PRN       10/23/16 13:15            10/23/16 20:41

      Senna/Docusate          1 tab                    BID           10/23/16 10:45            10/23/16 20:41
      Sodium

Patient Data
                                            Vital Signs, Last Documented
        Date Time         Temo     Pulse   Re so B/P        Pulse Ox 02 Deliverv       02 Flow Rate    Fi02
       1D/24/16 06:0D               111      28 120/70            99 Nasal Cannula             2.00
       1D/24/16 04:0D      37.6

Weight in Kg
93.00
                                                            Bedside Blood Glucose Last 24h
10/23/1611:14: POC Glucose 129
10/23/16 16:55: POC Glucose 111
10/24/16 04:34: POC Glucose B3


                                                   10/23/16   10/23/16     10/24/16
                                                      15:00      23:00        07:00
                                    Intake Total     950 ml     908ml        278ml
                                    Out ut Total   1250 ml    1175 ml        625ml
                                    Balance         -300 ml    -267 ml      -347 ml

Sedation Score Actual
0

PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




Physical Exam
Appearance: : Alert: Appears stated Age : Cooperative: No Acute Distress
Head Exam: : Moist Mucous Membranes: Normocephalic: Symmetric
HEENT: : EOMI : Moist Mucous Membranes: PERRL: Sciera Anicteric
Thorax: : Crackles (RIGHT LOWER LUNG FIELD) : Decreased Breath Sounds (LEFT LOWER LUNG FIELD) : No
Accessory Muscle Use: other (Tachypneic)
Cardiovascular: : Regular Rate Rhythm : Tachycardia
Abdomen: : Bovvel Sounds Noted : Non-distended: Non-tender: Soft
Skin: : Skin Color Normal : Skin Temperature Normal : Skin Turgor Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Alert and Oriented x 3
Follows Commands: Yes

Results
Results
                                                              Lab Results, CBC Diagram
10/24/16 04:50




                                                              Lab Results, BMP Diagram
10/24/16 04:50

                                                                        _ _~
                                           _@D;;;;i1_3_3--...._9_B_-+t-15
                                           ""'5.'i""""l  27           1.1 ~

                                                              PT/PTT/INR
10/24/16 04:50:
Prothrombin Time 15.8, ProthrombTime International Ratio 1.3
                                                       Arterial Blood Gas
10/7/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91.1 , Venous Blood HC03 31 .3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,


PATIENT: EFUN NUGA,OLUTOKUNBO
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                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR# : F001250247



Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97.7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3 8, Chloride (Blood Gas) 104, Ionized
calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm , Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes

Quality
Discussed Care Plan with: Patient
Code Status: Full Code
Lines Tubes and Catheter: NG Tube (Doubhoff- (10/19/16)) , PICC (LEFT UPPER EXTREMITY (10/11/2016))
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley Catheter: No
Central Venous Catheter: No
1 :1 Sitter: Discontinued
Non-Violent Restraints: Discontinued

Impression and Plan
Assessment
Problem List:
(1) Severe sepsis
(2) Aspiration pneumonia
(3) Empyema
(4) Delirium, acute
(5) Suicidal overdose
(6) Polysubstance abuse
(7) HIV (human immunodeficiency virus infection)
(8) LFTs abnormal
(9) Oral thrush
(10) Hyponatremia
(11) Antisocial personality disorder in adult
(12) Anxiety
Chronic Problems:

Management Plan
Plan
Neuro- Continue risperidone, Haldol pm.
       Pain control with Dilaudid prn with pain scale
       F/u psych eval patient came with intentional overdose- suicide attempt. 302ed

CVS:    Persistently sinus tachycardia possible due to pain and sepsis.
        B.P. fairly controlled

Pulm-
        Patient will go to the OR today for VATS and decortication.


PATIENT: EFUN NUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247



       Continue with Gentamycin, cefepime and metronidazole for aspiration pneumonia/empyema.
       Legionella antigen test was negative.
       Final respiratory culture shows normal respiratory flora.
       Expectorated sputum shows 2 organism: E.aerogenes and streptococcus group C. ( Resistant
to Cefazolin and Piperacillin(Tazobactam)
       Continue with nebulizations and suction and nystatin swish and swallow.

GI:   Continue Nystatin swish and swallow for oral candidiasis.
      Elevated LFT due to liver injury secondary to sepsis. Trending down .


GU: No active issue. Last serum creatinine was within normal limits we will continue to monitor since
patient is on gentamicin.


ID: Aspiration pneumonia and Empyema of Right lung.
    Resp culture (10/19/16)-Enterobacter aerogenes and Streptococcus group C
    Repeat resp culture(l0/21/16)- Normal flora and rare org till now
    Continue Cefepime, Metronidazole and gentamicin
    Echocardiogram showed NO vegetations or valvulopathy, recommended TEE.
    Hx of HIV infection- CD4 count is: 245 ( Low). Will start HAART therapy once acute illness
resolves

Hem/One: INR is elevated- most likely due to liver injury 2/2 to sepsis.
         DVT prophylaxis with Enoxaparin 40 mg s/c Daily, held today before procedure.

Endo: No active issues

F/E/N: Monitor electrolyte and replete as needed
       NPO

Social: Full code.
        NOK:    Sheree Bradham ( 484) 420-5809 Mother
               Ellls Bradham (610) 348-4661 Father
               Tosin Efunnuga 267-918-4065 Sister


IRIARTE OPORTO.BLANCA E MD                                            Oct 24, 2016 06:17

        <Electronically signed by BLANCA E IRIARTE OPORTO, MD> 10/24/16 1204


           10/24/16 1557




PATIENT: EFUN NUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247




IRIABL I BIO I DD 10/24/16 0617 / DT 10/24116 0617




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1024-0023
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                                                  Mercy Fitzgerald Hospital
                                                       Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA 1307223089                              ADMIT DATE: 10/07/16
REPORT # : 1024-0046                             008: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                  ***Signed Status***


Subjective
Encounter Date & Time
10/24/16 07 :02
Subjective
Patient seen, resting well, had a fever overnight, still with sputum production cough

Objective
Patient Data

                                           Vital Signs, Last Documented
        Date Time        Temp     Pulse   Resp B/P         Pulse Ox 02 Deliverv         02 Flow Rate   Fi02
       10/24/16 06:00              111      28 120/70            99 Nasal Cannula               2.00
       10/24/16 04:00      37.6

Weight in Kg
93.00
                                                            Bedside Blood Glucose
10/24/16 04:34: POC Glucose 83
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted

Results
                                                            Lab Results, CBC Diagram
10/24/16 04:50




                                                            Lab Results, BMP Diagram
10/24/16 04:50

                                                 ..........9_a_.....t_1_s_~
                                           _@fd_1_3_3
                                           """'5.11 27               1.1 ~

PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1024-0046
REPORT STATUS: Signed
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                           Mercy Fitzgerald Hospital
                                      Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



                                                              PT/PTT/INR
10/24/16 04:50:
Prothrombin Time 15.8, Prothromb Time International Ratio 1.3

Impression and Plan
Problem List:
( 1) E "1>Yema
Impression and Plan: Continue with cefepime, Flagyl and gentam icin, for OR today for decortication for source
control
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: stable, continue to provide oxygen and monitor pulse oximetry closely
(3) AKI (acute kidney injury)
Impression and Plan: Resolved
(4) Toxic encephalopathy
Impression and Plan: Clinically improved
Chronic Problems:


HAMID,SAMMY, MD                                                                Oct 24, 2016 07 :04

         <Electronically signed by SAMMY HAMID, MD> 10/25/16 0614




HAM ISA I SH I DD 10/24/16 0704 / DT 10/24116 0704




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1024-0046
REPORT STATUS: Signed
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                                                Mercy Fitzgerald Hospital
                                                    General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT #: 1024-0178                            DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                               ***Signed Status***


Subjective
Encounter Date & Time
10/24/16 10:26
Service: Gardiothoracic Surgery
Subjective
Patient seen and examined. No acute events overnight. Patient remains febrile and tachycardic.

Objective
Patient Data
                                          Vital Signs, Last Documented
        Date Time       Temp     Pulse   Resp B/P         Pulse Ox 02 Deliverv        02 Flow Rate   Fi02
       10/24/16 10:00             119      37 124/79            98 Nasal Cannula              2.00
       10/24/16 08:00    37 .3

Weight in Kg
93.00
                                                        Bedside Blood Glucose
10/24/16 04:34: POC Glucose 83
Appearance: : Alert: Appears stated Age : Mild Distress
Head Exam: : Atraumatic: Normocephalic: Symmetric
Eyes: : EOMI
Ears Nose Throat: No: Muffled Hoarse Voice
Thorax: : Crackles: Decreased Breath Sounds
Cardiovascular: : Tachycardia
Abdomen: : Non-tender: Soft
Extremity Appearance: LUE: Normal , RUE: Normal , LLE: Normal, RLE: Normal
Skin: : Skin Color Normal : Skin Temperature Normal
Neurologic: : Oriented x 3
Affect: : Normal

Results
                                                         Lab Results, CBC Diagram
10/24/16 04:50


                                            23.2



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1024-0178
REPORT STATUS: Signed
